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                                                                            COURT OF CRIMINAL APPEALS
                                                                                             AUSTIN, TEXAS
        September 15, 2014                                                Transmitted 9/12/2014 5:27:44 PM
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                                                                                              ABEL ACOSTA
                                              AP - 77,025                                             CLERK



                             IN THE TEXAS COURT OF CRIMINAL APPEALS


                                           AUSTIN, TEXAS


                                        OBEL CRUZ-GARCIA
                                             Appellant

                                                  vs.
                                        THE STATE OF TEXAS
                                              Appellee


                                APPELLANT'S BRIEF
                                 Appealed from the 337TH District Court
                                          Harris County, Texas

                                       Trial Court Cause Number:

                                               1384794


                                     DEATH PENALTY APPEAL


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                                    Oral argument is not requested




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                           IDENTITY OF PARTIES AND COUNSEL


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     Obel Cruz-Garcia




                                             1



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                           ISSUES PRESENTED FOR REVIEW


      POINT OF ERROR NUMBER ONE
      THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT'S MOTION TO
      SUPPRESS THE STATE'S DNA EVIDENCE WHERE THE STATE FAILED TO
      ESTABLISH A PROPER CHAIN OF CUSTODY DUE TO THE INVOLVEMENT
      OF THE HOUSTON POLICE DEPARTMENT CRIME LAB WHICH WAS SHUT
      DOWN AND WIDELY CRITICIZED IN THE REPORT OF INDEPENDENT
      INVESTIGATOR MICHAEL R. BROMWICH COMMISSIONED TO REVIEW
      AND EVALUATE THE HOUSTON POLICE DEPARTMENT CRIME
      LABORATORY AND PROPERTY ROOM (CR-111-454)

      POINT OF ERROR NUMBER TWO
      THE TRIAL COURT ERRED IN DENYING APPELLANT THE RIGHT TO
      CONFRONT AND CROSS EXAMINE HIS ACCUSERS AND THUS THE
      OPPORTUNITY TO PRESENT A DEFENSE BASED IN PART ON EVIDENCE
      CRITICAL OF THE HOUSTON POLICE DEPARTMENT CRIME LAB AND
      PROPERTY ROOM DURING HIS MOTION TO SUPPRESS AND AT TRIAL
      (CR-III-454-456)(R-XXXI-DX2/3/4)R-XVI-21);(R-XXXII-DX5/6)(R-XVI-21);(R-
      XXXIIl-DX6)(R-XVI-21);(R-XXXIV-DX7-19)(R-XVI-21)

      POINT OF ERROR NUMBER THREE
      THE EVIDENCE IS INSUFFICIENT AS A MATTER OF LAW TO
      SUSTAIN APPELLANT'S CONVICTION FOR THE OFFENSE OF
      CAPITAL MURDER (CR-l-2)(CR-III-484-507)(CR-IIl-530)

      POINT OF ERROR NUMBER FOUR
      THE TRIAL COURT ERRED WHEN IT ALLOWED THE STATE TO
      INTRODUCE EVIDENCE OF AN EXTRANEOUS OFFENSE [POSSESSION OF
      A CONTROLLED SUBSTANCE] BY PERMITTING THE STATE SHOW THAT
      APPELLANT FAILED TO APPEAR FOR A COURT SETTING ON OCTOBER 8,
      1992 ON AN UNRELATED FELONY CHARGE AND THAT HIS BOND WAS
      FORFEITED ON THAT CHARGE ALL TO SHOW FLIGHT ON THE PART OF
      APPELLANT AT HIS CAPITAL MURDER TRIAL EVEN THOUGH THERE
      WAS NO CHARGE OF CAPITAL MURDER FILED AGAINST APPELLANT
      UNTIL 2008. (R-XIX-111,113,115,119,122-124,126,128,129,141,142)




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      POINT OF ERROR NUMBER FIVE
      THE TRAIL COURT ERRED WHEN OVER APPELLANT'S OBJECTION IT
      ADMITTED THE EXTRANEOUS OFFENSE EVIDENCE [SET FORTH IN THE
      PREVIOUS POINT OF ERROR] BECAUSE UNDER RULE 403 OF THE TEXAS
      RULES OF EVIDENCE ITS PROBATIVE VALUE, IF ANY, WAS OUTWEIGHED
      BY THE PREJUDICIAL EFFECT OF ITS ADMISSION DURING APPELLANT'S
      CAP IT AL MURDER TRIAL.(R-XIX-111, 113, 115, 119,122-124,125,126-
      128,129,141,142)

      POINT OF ERROR NUMBER SIX
      THE TRIAL COURT ERRED WHEN IT PROHIBITED APPELLANT FROM
      INTRODUCING MITIGATING EVIDENCE INCLUDING BIBLE STUDY
      CERTIFICATES DURING THE PUNISHMENT PHASE OF THE TRIAL THUS
      PREVENTING APPELLANT FROM PRESENTING A COMPLETE DEFENSE (R-
      XXVI-55-58)(R-XXXIV-DX48-55)

      POINT OF ERROR NUMBER SEVEN
      THE TRIAL COURT ERRED WHEN IT PREVENTED APPELLANT FROM
      INTRODUCING MITIGATING EVIDENCE THAT HE WAS AN INFORMANT
      FOR THE FBI, DEA OR INS(R-XXIV-70-74)

      POINT OF ERROR NUMBER EIGHT
      THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT'S
      OBJECTION TO THE PROSECUTOR'S IMPROPER ARGUMENT INJECTING
      FACTS OUTSIDE THE RECORD (R-XXIII-80)

      POINT OF ERROR NUMBER NINE
      THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT'S
      OBJECTION TO THE PROSECUTOR'S IMPROPER ARGUMENT ASKING THE
      JURY TO CONVICT APPELLANT OF CAPITAL MURDER AS A PARTY
      BECAUSE THAT WAS WHAT THE STATE BELIEVED ACTUALLY HAPPENED -
      THAT APPELLANT DIRECTED AND ENCOURAGED. (R-XXIII-92)

      POINT OF ERROR NUMBER TEN
      THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT'S
      OBJECTION TO THE PROSECUTOR'S IMPROPER ARGUMENT WHICH WAS
      OUTSIDE THE RECORD AND INJECTED HER PERSONAL BELIEF THAT IF IT
      HADBEENUPTOTHECO-DEFENDANT,ANGELOGARCIA WOULD STILL BE
      ALIVE (R-XXVI-163-165)

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      MISTRIAL BASED UPON THE IMPROPER JURY ARGUMENT OF THE
      PROSECUTOR WHEN SHE WENT OUTSIDE THE RECORD (R-XXVI-171,172)


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      POINT OF ERROR NUMBER TWELVE
      THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT'S MOTION FOR
      NEW TRIAL BASED UPON JURY MISCONDUCT DURING THE PUNISHMENT
      DELIBERATIONS WHERE THE JURY FOREMAN INFLUENCED THE
      DELIBERATION BY QUOTING FROM HIS BIBLE ABOUT THE CORRECTNESS
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                                   SUMMARY OF ARGUMENT

      POINT OF ERROR #1
      The State did not establish a proper chain of custody regarding sixteen year old DNA
      evidence which involved the disgraced Houston Police Department Crime Lab and
      Property Room. The trial court prevented Appellant from questioning the State's
      witnesses regarding the collection, storage and transportation of this DNA evidence.

      POINT OF ERROR #2
      The trial court denied Appellant's right to confront and cross examine his accusers when
      it did not allow him to question the State's witnesses about problems in the HPD Crime
      Lab and Property Room and did not permit Appellant to introduce documentary evidence
      to establish his defense.

      POINT OF ERROR #3
      The evidence was insufficient to sustain the jury's guilty verdict where there was no
      evidence establishing the actual cause of death and the remaining evidence was seriously
      undermined and did not amount to proof beyond a reasonable doubt.

      POINT OF ERROR #4
      The admission of an extraneous offense (bond forfeiture) alleged to have occurred in 1992
      was admitted as evidence of "flight" in Appellant's 2013 capital murder trial even though no
      charge was pending against Appellant for capital murder in 1992 and Appellant was not
      charged with capital murder until 2008.

      POINT OF ERROR #5
      The probative value, if any, of the admission of the extraneous offense noted in Point of
      Error #4 , was outweighed by its prejudicial effect on the jury.

      POINT OF ERROR #6
      The exclusion of Appellant's mitigating evidence showing his attendance at Bible Study
      classes prevented him from presenting a meaningful and complete defense.

      POINT OF ERROR #7
      The exclusion of Appellant's mitigating evidence confirming that he was an informer for the
      FBI, DEA or INS prevented him from presenting a meaningful and complete defense.

      POINT OF ERROR #8
      The State's argument injected facts outside the record.

      POINT OF ERROR #9
      The State's argument injected the prosecutor's personal opinion of Appellant's guilt.

                                                   v


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      POINT OF ERROR# 10
      The State's argument injected the prosecutor's personal belief of Appellant's culpability.

      POINT OF ERROR# 11
      The State's argument was outside the record.

      POINT OF ERROR# 12
      An improper outside influence requiring a new trial occurred when the jury foreman quoted
      Scripture from his Bible during punishment deliberations.




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                                   STATEMENT OF THE CASE

             On September 5, 2008, Appellant was charged by complaint with the 1992 murder

      of Angelo Garcia, Jr. while in the course of and attempting to commit the kidnapping of

      Angelo Garcia, Jr. (CR-1-4) On April 19, 2013, Appellant was indicted for capital murder

      in this case. (CR-1-2) A jury found Appellant guilty of capital murder as alleged in the

      indictment. (CR-111-506) The jury returned answers to the Special Issues submitted at the

      punishment phase which resulted in the trial court sentencing Appellant to death. (CR-111-

      513-527,530) Appellant filed a Motion for New Trial allegingjurymisconduct. (CR-111-538)

      After conducting a hearing (by affidavits), the trial court denied Appellant's Motion for New

      Trial. (CR-111-665)

                                     RECORD DESIGNATION

      Record citations are designated:

      Clerk's Record          (CR-vol-page)

      Reporter's Record      (R-vol-page)

                        STATEMENT REGARDING ORAL ARGUMENT

             Oral argument is not requested




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                             STATEMENT OF FACTS IN THE CASE

                                      MOTION TO SUPPRESS

             Prior to trial, the court asked for an explanation as to what exactly was being pursued

      in the suppression hearing regarding DNA. The prosecutor noted that there was "Brady"

      material associated with the old crime lab investigation, including internal memos from the

      District Attorney's office and the Bromwich Report which was provided to Appellant. When

      the trial court asked exactly what was sought to be suppressed, Appellant's counsel made an

      opening statement to outline the items for the court. (R-XVI-16) 1) Some of the people that

      handled the evidence in this case were severely criticized as a result of the HPD Crime Lab

      investigation. 2), Although the State had the evidence re-examined by an independent lab,

      Appellant's counsel noted that he had no confidence in the HPD Crime Lab. (R-XVI-17) 3),

      Specific evidence consisting of a pair of panties and a cigar from which a DNA profile were

      determined or handled by the HPD Crime Lab for latter cuttings or swabs were items

      produced by HPD Crime Lab or sent to Orchid Cellmark for analysis. (R-XVI-17)

      Appellant's counsel noted that because the HPD Crime Lab had been completely closed, the

      trial court should not have any confidence in any items transferred from that now closed lab

      to anywhere else for fear of contamination. (R-XVI-18) Appellant argued that no evidence

      even handled by the HPD Crime Lab should be trusted for evaluation even by an independent

      crime lab and the Appellant sought to suppress it as a result. (R-XVI-18) This would include

      evidence testimony from Orchid Cellmark. (R-XVI-18) Appellant offered Defendant's

      Exhibits 2 through 9, which included various reports regarding the Bromwich Report, and



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      the HPD Crime Lab investigation. These items were admitted in evidence at the pretrial

      hearing. (R-XVI-21)

             The State responded that it followed the recommendations of the Bromwich Report

      in this case and sent all the evidence out to an independent lab so that they could start from

      scratch and do their own testing. (R-XVI-22) The State's position with regard to the

      contamination issue was that it could not have happened because the old HPD crime lab

      didn't have a sample of Appellant's DNA at that time - because he was in Puerto Rico.

             By agreement, the State made a proffer regarding the testimony of Gloria Kologinczok

      who performed the sexual assault examination in this case. (R-XVI-23, 24) In 1992, this was

      one of the first sexual assault nurse examiners [SANE]. She performed an examination on

      Diana Garcia. (R-XVI-25) The examination was performed on October 1, 1992, at St.

      Joseph's Hospital in Houston, Texas. (R-XVI-25) The sexual assault evidence collection kit

      was turned over to Officer W. T. BredemeyeroftheHoustonPoliceDepartment. (R-XVI-25)

             The State then called Eric Mehl a retired Houston Police Department Homicide

      investigator. (R-XVI-26) In 2004, Mehl was assigned to a cold case squad within the

      homicide division of the Houston Police Department. (R-XVI-28) Mehl would look for

      cases that required DNA analysis to go any further. (R-XVI-29) He became familiar with

      a case that involved the homicide of six year old boy named Angelo Garcia, Jr. (R-XVI-29)

      The homicide ofAngelo Garcia, Jr. also indicated that his mother had been sexually assaulted

      during the course of the events back in 1992. (R-XVI-29) In September, 2007, Mehl set out

      to find the evidence that he wanted to ship to Orchid Cellmark for analysis. (R-XVI-30) The



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      evidence was a cigar that had been left at the scene of the crime, as well as the rape kit which

      was taken from Diana Garcia, which included cuttings from a pair ofunderpants. (R-XVI-30)

      The cigar had been stored at the HPD property room (not the crime laboratory). (R-XVI-30)

      The cigar was inside a plastic ziplock bag which was then inside a brown evidence envelope

      that had been sealed. (R-XVI-31) No damage to the evidence bag or its contents was noted.

      (R-XVI-31) The rape kit was located in the HPD annex building on the 24th Floor (also not

      stored in the crime laboratory room). (R-XVI-32) No damage to the rape kit or the bag it was

      stored in was noted. (R-XVI-33) The items were then packaged by Mehl and sent to Orchid

      Cellmark. (R-XVI-33) Evidence which was stored at the crime laboratory, included a cutting

      from the panties, biological samples from Arturo Rodriguez and Diana Garcia.               The

      individual bags which contained the evidence were not opened by Mehl. (R-XVI-35) Blood

      samples for potential DNA analysis belonging to Diana Garcia, Arturo Rodriguez and others

      were also preserved. (R-XVI-35)

             Mehl said that from 1992 no contact had been made with Appellant, Obel Cruz

      Garcia, because he had fled the country. (R-XVI-36) As a result, there was no DNA sample

      fromAppellantatanytime in the 1990's after this crime had occurred. (R-XVI-36, 37) When

      Mehl shipped off the evidence to Orchid Cellmark on October 2, 2007, the State still did not

      have possession of a DNA sample from Appellant. (R-XVI-37) Subsequently, in 2008, it

      was learned that Appellant was in custody in Puerto Rico. (R-XVI-37) The FBI in Puerto

      Rico went to the prison where Appellant was being held and obtained a DNA sample from

      him on May 23, 2008. (R-XVI-38) By May 23, 2008, all the original evidence that might



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      have contained biological material had already been shipped off to Orchid Cellmark for

      analysis. (R-XVI-3 8) When Mehl obtained the DNA sample from Appellant, he did not open

      the package but rather repackaged the original FedEx package into another one and sent it

      to Orchid Cellmark. (R-XVI-39) The results of the testing revealed that the cigar contained

      DNA matching Appellant. A cutting from the panties contained a mixture and the major

      DNA profile obtained from the sperm fraction belonged to Appellant. (R-XVI-39) Appellant

      also was not excluded as a contributor to the vaginal swab taken in the case. (R-XVI-39)

      Mehl acknowledged that in 1992, DNA testing was in its infancy. (R-XVI-40) Mehl stated

      that at that time the type of DNA evidence that was being considered was blood and semen.

      He indicated that HPD was not necessarily looking for epithelial cells on items like cigars.

      (R-XVI-40, 41) Mehl indicated that had he been the investigator in 1992, he would not have

      even thought to look for DNA on the cigar. (R-XVI-41)

             During cross-examination, Mehl acknowledged that items that had been

      extracted from Diana Garcia were stored by HPD Crime Lab. This included the blood

      and cutting from the underpants. (R-XVI-43, 44) Mehl was unaware of where blood

      samples would have been taken from Diana Garcia, whether or not it was part of the rape kit.

      (R-XVI-44) Mehl admitted that at some point the rape kit would have gone through the

      crime lab. (R-XVI-44) Blood was extracted from Arturo Rodriguez for elimination

      purposes and that was also done at the HPD Crime Lab. (R-XVI-45) In response to the

      court's question, Mehl said that he sent the entire rape kit, along with the things that the

      crime lab removed from the rape kit which was the crotch of the panties. (R-XVI-46)



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             Matt Quartaro, a supervisor of forensics at Cellmark Forensics in Dallas, Texas,

      testified that he conducted part of the testing on Appellant's case when he received evidence

      on October 3, 2007. (R-XVI-49) This witness did not observe anything irregular about the

      evidence. (R-XVI-50) Cellmark performed its own DNA extraction from the samples

      submitted. Essentially, they set aside extractions that had been taken by HPD. (R-XVI-51)

      The lab took their own cuttings from the panties to do a DNA analysis. (R-XVI-52) At the

      time the initial shipment was received, this laboratory had not received any of Appellant's

      DNA profile or any of his associates. (R-XVI-52) The laboratory started from scratch with

      the items. (R-XVI-53) The initial testing revealed that there was a third unknown individual

      who was a male whose DNA was found on the vaginal swab and the cigar. (R-XVI-55) The

      witness indicated that the unknown profile from the cigar couldn't be excluded as a

      contributor to the vaginal swab. (R-XVI-55) It was only a single source DNA on the cigar,

      meaning there was only one person's DNA present. (R-XVI-56) Arturo Rodriguez was a

      contributor to the male DNA in the panties because he could not be excluded as a minor

      contributor. The major contributor was the unknown male. (R-XVI-57)

             On May 28, 2008, the laboratory obtained a full DNA profile from Appellant. (R-

      XVI-59) The witness indicated that the profile of Appellant matched the profile from the

      sperm fraction of the panties and to the cigar. (R-XVI-59) When asked about the possibility

      of contamination, the witness indicated without having the defendant's DNA to contaminate

      it with, he could not see a way that Appellant's DNA profile could have shown up on the

      evidence. (R-XVI-61) While the witness indicated that the storage conditions, even the



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      freshest ones, could have made it more difficult to obtain a DNA profile, he didn't see it

      compromising the evidence. (R-XVI-62) The witness agreed that you would have had sperm

      cells on the cigar or the cigar could have contaminated the panties. (R-XVI-63) The witness

      also indicated that the storage conditions would not change the DNA to some else's DNA,

      it would just break up the DNA to where they were not able to obtain results from it. (R-XVI-

      66)

             During cross-examination, this witness acknowledged that the tested evidence had

      been in HPD's possession at one point. (R-XVI-67) Quartaro noted that there was

      evidence of active testing by the HPD crime lab. (R-XVI-68) This witness admitted that

      even though two people had touched the cigar, it's possible that only a DNA profile from one

      person would be obtained. (R-XVI-72) The witness also acknowledged that he could not

      tell when a sperm cell was deposited, just whose DNA was there. (R-XVI-72, 73)

             The State and Appellant stipulated that Appellant gave his consent to provide blood,

      hair and saliva sample on February 16, 2010. A further stipulation was that the District

      Attorney's office obtained buccal swabs from Appellant on February 18, 2010. (R-XVI-78)

             Courtney Head worked for the Houston Police Department Crime Lab. (R-XVI-79)

      Her employment with the crime lab was not related in any way to the HPD crime lab in 1992.

      (R-XVI-82) Head testified that there was a letter from the HPD crime lab in 1992 indicating

      that extractions from the evidence of the vaginal swab in the crotch panties were sent to

      Genetic Design Lab for analysis. (R-XVI-85) In the 1992 Genetic Design Lab letter there

      was no cigar or any extraction from that cigar in evidence. (R-XVI-85) This witness, who



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      was familiar with Joseph Chew from the Houston Police Department Crime Lab, stated that

      she was unaware of any DNA analysis he performed on the evidence in this case. (R-XVI-85)

      At one point in 1992, Chew obtained a hair sample from Appellant. (R-XVI-86) Chew was

      also in receipt of some buccal swabs of Appellant from Michael Webb on February 18, 2010.

      (R-XVI-86) B. Sharma who previously worked with the Houston Police Department Crime

      Lab conducted some DNA analysis on some of the extractions from the rape kit in October,

      1992. (R-XVI-87) Shanna's comments in her analysis indicated that the male fraction of

      DNA was too degraded to make or form any conclusions back in October, 1992. (R-XVI-87)

      The witness noted that with time and advancements the ability to analyze DNA improved and

      the techniques had improved as well. (R-XVI-89) In October, 2010, this witness became

      involved in the case prior to performing extractions on buccal swabs belonging to Appellant.

      (R-XVI-90) Based on her work alone, she was able to obtain a DNA profile for Appellant.

      (R-XVI-90) Head performed a DNA test on the cigar that had been recovered and compared

      it to the DNA profile of Appellant and found that he could not be excluded as a contributor

      to the DNA on that cigar. (R-XVI-91) The same results occurred when Appellant's DNA

      profile was compared against the evidence received which was the sperm fraction from the

      panties from Diana Garcia. (R-XVI-92)

             During cross-examination, the witness confirmed that the letter marked State's

      Exhibit No. 4 revealed that the evidence in the case, including a vaginal swab from

      Diana Garcia, the crotch from the panties of Diana Garcia, and blood from various

      individuals was handled by the Houston Police Department Crime Lab. (R-XVI-95)



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             The trial court ruled that the evidence was admissible. (R-XVI-111) There was a

      discussion between the court and Appellant's counsel regarding what the theory of

      admissibility for disciplinary records and crime lab problems was. (R-XVI-115) Appellant

      raised the issue of contamination. (R-XVI-11 7)

             The trial court found that the DNA evidence that related to Orchid Cellmark testing

      was sufficiently reliable and relevant and was therefore admissible. (R-XVII-4) The court

      admitted the DNA from the cigar found at the crime scene, one sexual assault kit taken from

      Diana Garcia by Gloria Kologinczok, and certain blood samples taken from Diana Garcia,

      Arturo Garcia, Candido Lebrom, Bienviendo Melo, Leonardo German, and Carmelo

      Martinez. (R-XVII-5) The court denied the Motion to Suppress. (R-XVII-5, 6) The

      court also found that evidence that was extracted and examined by the old HPD Crime

      Lab would not be admitted. (R-XVII-7) The court found that testing done by the old

      HPD Crime Lab on blood samples was not admissible, but testing performed by Orchid

      Cellmark Laboratory on those samples was admissible. (R-XVII-8) The trial court also

      found that none of the evidence stored was placed in a location where contamination

      mishandling or malfeasance by the HPD Crime Lab was shown. (R-XVII-12) The court

      noted the Bromwich Report concerning the old HPD Crime Lab found that all of the specific

      recommendations made in the Bromwich Report were followed in this case. (R-XVII-13)

      The court held that the Bromwich Report would not be admitted because there was

      nothing specific about this case. (R-XVII-13, 14) The court held the evidence was not

      admissible. (R-XVII-14) The court then went on to hold that impeachment of several of the



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      State's would be witnesses Mr. Chew and Dr. Sharma would not be allowed because they

      were not even going to testify. (R-XVII-14, 15) The trial court indicated it would allow

      wide cross examination concerning the evidence, but it would not allow the defense to

      go into the Bromwich Report or the closure of the HPD Crime Lab or the reasons for

      the closure of the lab or the impeachment of witnesses at the laboratory that do not

      testify. (R-XVII-17, 18) Appellant's counsel thenmade a record of what he had tried to do

      to get certain things into evidence or have them suppressed. (R-XVIII-19) He went further

      to point out that the reasoning behind wanting to get evidence of the Bromwich Report and

      the old crime lab problems was because to show the jury the inherent unreliability of

      anything that the crime lab touched. (R-XVIII-21) Defendant's Exhibit No. 19, which was

      the entire original file from what was Genetic Design, which was the crime lab that had the

      original cuttings from the original rape kit. (R-XVIII-22) He also discussed the fact that

      there was a DNA profile developed in 1993 by Genetic Design, but an analysis was never

      compared to the buccal swab of the Appellant and he wanted to cross examine the State's

      witnesses or call his own witnesses to state that was a DNA profile that was never resolved

      in the case. (R-XVIII-22, 23) Appellant's Exhibits 10 through 19 were offered and admitted.

      The trial court said that her ruling remained the same. (R-XVIII-23, 24) Appellant

      made it clear to the record that his intent was to offer these items before the jury, but

      understanding the court's ruling he would not do that. (R-XVIII-24) .




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                     THE GUILT I INNOCENCE PHASE OF THE TRIAL

             Appellant pled "Not Guilty" to the charge of capital murder. (R-XVIII-17,18)

             HPD officer James Devereaux was dispatched to 6705 Fairway just before midnight

      on September 30, 1992. (R-XVIII-48) This officer met Diana Garcia and Arturo Rodriguez

      and learned that their son was missing. (R-XVIII-50) The officer described Ms. Garcia as

      excited, hysterical and really nervous and scared. (R-XVIII-50)

             During cross examination, the witness indicated that he put out a description on the

      air that there were two black males, one wearing a mask, and the description of the vehicle

      as well. No height, weight or age was broadcast. (R-XVIIl-55) He learned from others at

      the apartment complex that there may have been drugs being dealt at the apartment. (R-

      XVIII-56) This information was turned over to homicide detectives. (R-XVIII-56) He

      indicated that the police believed that the Complainants knew who their attackers were and

      that it was possibly drug related. (R-XVIII-57)

             Sergeant C. E. Elliott with the Houston Police Department Homicide Division made

      the scene involving a 7-year old boy who had been kidnaped. (R-XVIII-63) One picture

      from the scene depicted that a door had been kicked in. (R-XVIII-69) Elliot explained that

      the bedroom was in complete disarray and that it had been ransacked as if someone were

      looking for something or searching for stuff. (R-XVIII-71) Elliott described a clock radio

      wire (SX#22) which had been used to tie someone up in the house. (R-XVIII-74) There was

      apillow(SX#25)thathadbloodonit. (R-XVIII-75) TheofficerdescribedArturoRodriguez

      as having been pistol whipped. (R-XVIII-75) A handgun (SX#26) that was found unfired



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      in the bedside table. (R-XVIII-76) The detective observed a cigar in the living room area of

      the apartment. He thought this was significant because neither of the adults in the apartment

      were smokers. (R-XVIII-79) Elliott testified that even though HPD looked for fingerprints,

      none were found on the immobile surfaces in the home. (R-XVIII-82) The police put out a

      broadcast with the description of the child. (R-XVIII-84) The FBI became involved in the

      case. (R-XVIII-84) opined that the individuals responsible for taking Angelo, did so to bring

      pressure on the mother and father (believing that it was a drug related situation). (R-XVIII-

      87) Initially, both parents denied drug involvement. Diana Garcia was transported to St.

      Joseph's Hospital for a sexual assault kit and then transferred to the homicide division. (R-

      XVIII-89) On November 5, 1992, Elliot was notified that Angelo Garcia's body was found

      in Baytown by a crabber. The body was found in a mud flat, in a desolate marsh area of

      Baytown. (R-XVIII-91) The identity of Angelo Garcia was later confirmed by dental

      records. (R-XVIII-92)     The officer indicated that Obel Cruz Garcia or "Chico" was

      developed pretty quickly as a primary suspect. (R-XVIII-94)

             During cross-examination, Elliott acknowledged that he had concerns about the two

      Complainants being truthful with him. (R-XVIII-98) Elliott admitted that the description put

      out by patrol officers was that they were looking for two black males. (R-XVIII-99, 100)

      The two Complainants, who were both Hispanic, identified the individuals as black as

      opposed to Hispanic or black Hispanic. (R-XVIII-101) Elliott attempted to explain away the

      fact that these two individuals described the two assailants as black, by claiming that it was

      cultural and that people who are Hispanic people from Mexico may not be able to describe



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      a black from Columbia who is Hispanic. (R-XVIII-101) Elliott became defensive when

      Appellant's counsel began questioning why he could not be more specific in his report, while

      maintaining that he thought that they meant black Hispanics. (R-XVIII-102, 103) After

      asking several times, Elliott finally admitted that he never wrote in his report that the

      assailants were black Hispanics. (R-XVIII-105)         Elliott also stated that the female

      complainant stated the suspect used English but spoke with a unknown foreign accent. (R-

      XVIII-106) Although he was trying to suggest that the suspects were Spanish speaking, he

      acknowledged that he interviewed Garcia in English and she described a foreign accent. (R-

      XVIII-108) Elliott never took information concerning the color of the masks that were worn

      by the assailants. (R-XVIIl-108, 109) Elliott again acknowledged that he knew the

      Complainants were not being truthful with him. (R-XVIII-109) Elliott also found that the

      scene suggested it was a drug related offense. (R-XVIII-110, 111) Elliott described a chrome

      plated .25 automatic pistol that was found in a bedside drawer. (R-XVIII-112)

             On redirect examination, Elliott stated that he was just trying to get something basic

      outtothe patrol units. (R-XVIII-113) Elliott explained cultural identification and stated that

      on the evening when he left he was looking for a Caribbean islander, black Hispanic, or

      Columbian of that nature Hispanic black. (R-XVIII-117) Elliott stated that he believed that

      the Complainant (Diana Garcia) did not get a good look at both individuals. (R-XVIII-118)

      She had seen one of the individuals in a mask, but did not see the other one. (R-XVllI-118)

             Diana Garcia testified that her first husband was Angelo Garcia, Sr. (R-XVIII-123)

      She testified that she had an affair Jose Arturo Rodriguez. (R-XVIII-124, 125) She



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      eventually moved in with him, along with her son, Angelo, Jr. (R-XVIII-125) Garcia knew

      that Rodriguez was involved in cocaine. (R-XVIII-126) A while after she moved in with

      Rodriguez, she learned that he was drug dealing. (R-XVIII-128) Garcia also became

      involved in the drug dealing by helping Rodriguez. (R-XVIII-128) She identified "Chico"

      as the person who sold them drugs. (R-XVIII-129) She stated that they sold drugs out of

      their first residence on Winfrey, as well as the second one where Angelo was abducted. (R-

      XVIII-130) The Winfrey location had been broken into because individuals thought they had

      lots of money because they were selling drugs. (R-XVIII-131) She did not make a police

      report because she realized she was drug dealing at the time. (R-XVIII-131) She described

      a vehicle parked for about two weeks by her second residence on Fairway thinking that it was

      staking out the place. (R-XVIII-132, 133) There were times when Chico brought drugs over

      to them at their Fairway location, but they did not want to sell anymore. (R-XVIII-134)

      When Arturo called Chico and told him to come back and get the drugs, she was not sure

      what happened. She stated that it was two or three weeks later that her son Angelo was

      kidnaped. (R-XVIII-134) Garcia described Chico bringing his wife Angelita over to the

      house and playing with little Angelo. (R-XVIII-134, 135) Garcia even helped them get an

      apartment because Chico had a problem with his credit. (R-XVIII-136) She went so far as

      to sign the lease on their apartment for them. (R-XVIII-136) There were times when Chico

      would come over to her apartment along with a friend (Rudy) who was related to Angelita.

      (R-XVIII-138) Rudy worked for Chico and did what he was told. (R-XVIII-138) She

      identified State's Exhibit No. 83 as being Chico, State's Exhibit No. 86 was Angelita, State's



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      Exhibit No. 85 was Rudy, State's Exhibit No. 87 was a picture of a witness and State's

      Exhibit No. 88 was a picture of Arturo. All the pictures were of the individuals at that time.

      (R-XVIII-142) Garcia described that they were able to get by with their drug dealing money

      and that neither one of them had to work. She indicated that Arturo was able to buy a

      vehicle. (R-XVIII-143) Once they stopped selling drugs, they had difficulty making the

      payments on the vehicle. (R-XVIII-144) She was involved in dealing to people on a regular

      basis and had a group of people that were fairly regular and known to her. (R-XVIII-144)

      On September 30, 1992, Arturo and his brother were outside and Chico came by for a visit.

      (R-XVIII-145) Angelo was six years old at the time and in first grade. (R-XVIII-145) On

      the evening of September 30, 1992, Angelo wanted to sleep in his parents' room. (R-XVIII-

      146) Angelo went to bed wearing at-shirt and Batman shorts. (R-XVIII-14 7) Angelo slept

      on a little pallet on the floor next to this witness's bed. (R-XVIII-148) While asleep, Garcia

      heard a bang and woke up. Rodriguez got up and walked towards the living room and then

      was backing up into the bedroom. (R-XVIII-149) He was walking backwards because there

      was a gun pointed at him. (R-XVIII-150) The man holding the gun was described as a big

      man with big shoulders.(R-XVIII-150) The man was wearing a long sleeve shirt, but Garcia

      could still see his skin. He was also wearing a ski mask. (R-XVIII-151) The man spoke but

      she was unable to understand what he was saying. (R-XVIII-152) She described the man as

      dark and black. (R-XVIII-152) She said the man didn't speak Spanish or English. (R-XVIII-

      152) The man started beating Arturo and told her to tum over face down. (R-XVIII-152)

      Garcia was tied up but she did not know who did that. (R-XVIII-153) After she was face



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      down, she noticed another man come into the room. (R-XVIII-153) She heard her son saying

      "Mommy," calling out for her. (R-XVIIl-155) She saw the second man in the doorway with

      a gun, but she was unable to identify that person. (R-XVIII-156) The second man, who was

      touching her, put a blanket or pillow over her face and raped her. (R-XVIII-157) She

      described her rape taking place in front baby Angelo while the tall man kept beating Arturo.

      (R-XVIII-158) Garcia described Arturo as unconscious with a pillowcase stuffed in his

      mouth. His head was covered with a pillow. (R-XVIIl-159) His hands had been tied with

      an alarm clock wire. (R-XVIII-159) Before leaving, the men took several items, including

      Arturo's wallet, a bracelet, and some cash. (R-XVIII-160) She thought that the individuals

      looked around the apartment for 10 or 15 minutes looking for something. (R-XVIII-161) The

      second man who had come into the room never said anything. Garcia never got a look at him

      and she never saw his face because she was face down. (R-XVIII-162) As soon as she untied

      Arturo, Garcia looked down and saw that baby Angelo was not there. (R-XVIII-163) As they

      walked out of the bedroom, one of the other men (the tall one) was coming back into the

      apartment. They walked back towards the bedroom and the man left. (R-XVIII-164) This

      witness was taken to the hospital where a rape kit was prepared. She indicated that the man

      had ejaculated in her. (R-XVIII-165) After she had been raped, she placed her underwear

      back. (R-XVIII-165) Garcia acknowledged that when police asked her about drug dealing,

      she lied to them because she was afraid. (R-XVIII-166) She did state that she told the truth

      about everything else. (R-XVIII-166) Garcia went to the police station and eventually told

      them that Chico was her drug supplier. (R-XVIII-167) Her phone calls were being tapped



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      by police and at one point Angelita Rodriguez, Chico's wife called her. (R-XVIII-167)

      Angelita called trying to help her. (R-XVIII-167) When Angelita came to help, Garcia

      noticed that Chico was not with her. (R-XVIII-167, 168) In November 1992, Garcia was told

      that the police had found Angelo's body. (R-XVIII-168) Garcia identified the clothing

      (SX#6l)wom by Angelo on September 30, 1992. (R-XVIII-169) The witness identified the

      individuals in color as dark black. (R-XVIII-172) Garcia identified Appellant in Court as

      Obel Cruz Garcia ("Chico"). (R-XVIII-172) She described his skin color as dark black. (R-

      XVIII-172

             During cross-examination, Garcia acknowledged that for a year and half to two years

      they sold cocaine and that was how they made a living. (R-XVIII-176) During that entire

      time, they received their cocaine from Chico. (R-XVIII-177) She stated that Chico would

      come to her apartment one or two times per week. (R-XVIII-179) She knew of no reason

      why Chico would be mad at her or Arturo. (R-XVIII-179) She stated that she met Chico

      through Arturo. (R-XVIII-180) Garcia described herself as brown and the tall person who

      came into the room as darker so they're black. (R-XVIII-182) She indicated that she never

      saw the second man who entered the bedroom so she could not say whether he was black,

      brown or white. (R-XVIII-182) She couldn't understand Spanish or English from him. (R-

      XVIII-184) She did not recall giving the police any description of the second man who had

      come into the room. (R-XVIII-184) Garcia indicated that Chico had been over to her

      apartment earlier that day. (R-XVIII-184) She indicated that Arturo and her were not selling

      drugs at that time, so Chico would not have left drugs with him. (R-XVIII-185) She did tell



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      the police that there was a $4,000 piece of jewelry (Arturo's bracelet) which was taken that

      day. (R-XVIII-185, 186) Garcia's purse, which was on top of a table, was not touched at all.

      (R-XVIII-186) Garcia acknowledged that the police questioned her for several days, but she

      stated that on the second day she told the police about the drug dealing even though she had

      denied it the first night. (R-XVIII-188) Garcia admitted the .25 automatic pistol was hers.

      (R-XVIII-191) Garcia told the jury that it had been a few months between the first burglary

      atheroldlocation(Winfrey) and the one on Fairway on September30, 1992. (R-XVIII-192)

      She stated that drugs and money had been taken during the first burglary. (R-XVIII-192)

             Jose Arturo Rodriguez testified that he and Diana Garcia had been together for 26 or

      27 years. (R-XVIII-195) Rodriguez stated that after coming to Houston from Mexico and

      California, he became involved in drugs. (R-XVIII-197) He and Garcia started selling

      cocaine just to live a better life. (R-XVIII-198) Rodriguez identified Appellant in Court as

      "Chico." (R-XVIII-199) Rodriguez identified a picture of him and Appellant (SX#83). (R-

      XVIII-200) Rodriguez described his relationship with Appellant as friendly and a business

      relationship. (R-XVIII-201) Rodriguez was unable to remember that he and Diana Garcia

      helped Chico with an apartment or that he remembered where Chico and his wife Angelita

      lived. (R-XVIII-202) He stated that he sold drugs for about three years. (R-XVIII-202)

      Rodriguez became concerned at one point ibn 1992 because a car was parked down the street

      from his residence. This scared Rodriguez and he told Appellant about it and of his intention

      to stop selling drugs. (R-XVIII-204) Rodriguez said that he never had any problems with

      Appellant. He denied that Appellant ever left drugs at his house after he stopped selling



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      drugs. (R-XVIII-204)      Rodriguez stated that when he was sleeping on the night of

      September 30, 1992, he heard a noise that sounded like a kick. (R-XVIIl-207) When he went

      to check on the noise, he was confronted by someone wearing a mask and pointing a gun at

      him. (R-XVIII-208) Rodriguez was unable to seethe face of that individual. (R-XVIII-209)

      He described the individual as tall and like a colored person. (R-XVIII-209) The man was

      telling him to go back, go back. The individual was speaking in English, but Rodriguez did

      not understand what he was telling him. (R-XVIII-210) He was unsure whether the person

      was actually saying it in English or Spanish, but he said he understood that he needed to go.

      (R-XVIII-211) Rodriguez described the man as having an accent, but not like his. (R-XVIII-

      211) Rodriguez was taken into the bedroom where his wife was being raped. Rodriguez was

      beaten with a gun. (R-XVIII-212) Rodriguez stated that he did not see the face of the

      individual that was raping his wife because he was also wearing a mask. (R-XVIIl-214)

      Rodriguez stated that little Angelo didn't even know what was going on. (R-XVIII-215)

      Rodriguez stated that the person that was raping his wife never said anything. (R-XVIII-215)

      Rodriguez stated that it ended when he felt baby Angelo being taken by the arm. He actually

      said that he did not see it, it felt like it and he heard it. (R-XVIII-215) Rodriguez stated that

      on the night that Angelo was abducted, he never saw Chico again until his appearance in

      court. (R-XVIII-219) Rodriguez indicated that neither he, nor Diana Garcia, smoked cigars.

      He was aware that police found a cigar in his house on the night of September 30, 1992. (R-

      XIX-4)

             During cross-examination, Rodriguez indicated that he had only been selling drugs



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      for about two years. He denied saying three years the day before during this testimony. (R-

      XIX-6) Rodriguez then stated that he had sold drugs for about four years and that he had

      sold drugs for other people as well. (R-XIX-6) Rodriguez indicated that he could not recall

      whether the police questioned him and asked whether this incident involved drugs. He stated

      that he was only making about $560 a week selling cocaine. He then stated that the .25

      automatic pistol that was in the apartment may have belonged to the person that threatened

      him. When asked if it was Diana Garcia's gun, he indicated it was not and that he was sure

      about that. (R-XIX-9) Rodriguez denied having seen Appellant earlier in the day when

      Angelo was abducted. (R-XIX-11) When asked whether he had an argument at a store

      involving a tall black man and a Hispanic man on the day Angelo was taken, Rodriguez

      stated that he did not remember. (R-XIX-12) Rodriguez acknowledged that some people

      were Hispanic, others were black, and some were white, and that he knew the differences.

      (R-XIX-12) Rodriguez admitted that when he spoke to officer Hernandez, he stated that the

      man behind the mask was not a Mexican nor a white man because the way the man spoke,

      he spoke like a black man. (R-XIX-13) Rodriguez acknowledged that he concentrated on

      the one black man that was threatening him. (R-XIX-14) He stated that he did see the person

      that was raping his wife, but he did not know who it was. (R-XIX-15) Rodriguez said that

      after the police interrogated him, and he told them what he did, then he and the police

      thought it would be Appellant that was responsible. (R-XIX-15, 16) When questioned about

      the color of the mask worn by the man, Rodriguez stated that it was either blue or black.

      When cross-examined about whether he told police that it was brown or black, he stated that



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      he did not recall saying that. (R-XIX-17) (R-XIX-18) Rodriguez identified the only picture

      showing blood on a pillow (SX#25). He also stated that he did not require stitches or

      bandages or treatment of any kind for the injuries claimed. (R-XIX-19) Rodriguez denied

      telling the police that he was not involved in drugs. He said he always told them what he did.

      (R-XIX-21) Rodriguez said that he went back to the police over a three to four week period,

      every day. (R-XIX-22) Again Rodriguez said in front of the jury that he never denied being

      a drug dealer when he talked to the police. (R-XIX-24)           Rodriguez was then asked

      specifically about the conversation he had with officer Hernandez and again denied that he

      ever told Hernandez that he was not involved in drugs. (R-XIX-24) Rodriguez denied telling

      Hernandez that he didn't know why anyone would enter his apartment and beat them up. (R-

      XIX-24) Rodriguez stated the first time his home was burglarized on Winfrey, he was unable

      to remember if drugs or money were taken. (R-XIX-29) Rodriguez also acknowledged that

      on direct examination the day before in court, he said he had been hit two or three times in

      the head and never lost consciousness. (R-XIX-33)

             Gloria Kologinczok, a registered nurse, became a sexual assault nurse examiner

      (SANE) 1985. (R-XIX-38) This witness described how a SANE examination takes place.

      (R-XIX-38 - 42) This witness stated that in October, 1992, she performed a sexual assault

      examination on Diana Garcia while working at St. Joseph's Hospital. (R-XIX-42, 43) Some

      of the items in the sexual assault kit (SX#33) contained panties, vaginal swabs and smears,

      and a known saliva sample, and a blood sample. (R-XIX-46, 47) During her examination

      with Garcia, this witness did not note any physical injury to Diana Garcia or any physical



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      trauma either. (R-XIX-48) She stated that it was not unusual to have an examination that did

      not show physical trauma or physical injury. (R-XIX-49) This witness completed the rape

      kit and submitted it at 4:25 a.m. on the morning of October 1, 1992. (R-XIX-49)

             During cross-examination, this witness indicated that she was only testifying from her

      notes and not her independent recollection. She acknowledged that it was not her job to be

      the judge or the jury in determining whether someone was sexually assaulted or not, it was

      only her job to collect the information. (R-XIX-50)

             Deputy W. T. Bredemeyer, with the Precinct 4 Constable's Office, testified that on

      September 30, 1992, he responded to a call at 6705 Fairway in Houston, Texas. (R-XIX-55)

      He met with Diana Garcia who was pretty upset, crying and had a hard time communicating.

      (R-XIX-57) He also observed Arturo Rodriguez who had been assaulted. (R-XIX-57) The

      only thing Bredemeyer could remember was that the door had been broken in. (R-XIX-58)

      He transported Ms. Garcia to St. Joseph's Hospital for a sexual assault kit and took

      possession of it after it was completed. (R-XIX-58) He identified State's Exhibit No. 33 as

      that sexual assault kit. (R-XIX-59) He received the kit from the nurse Gloria Kologinczok.

      (R-XIX-59) He took the kit to the homicide division and then to the HPD property room for

      storage. (R-XIX-59)

             HPD Officer, U. P. Hernandez, was assigned to the homicide division in September,

      1992. (R-XIX-64) Hernandez interviewed two of the Complainants in akidnaping incident.

      (R-XIX-65) He took statements from each of these individuals on October 1, 1992. (R-XIX-

      66) He interviewed Arturo Rodriguez and Diana Garcia. (R-XIX-67) Rodriguez's statement



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      was taken at 4 :26 a.m. Rodriguez did not speak English. (R-XIX-67) Ms. Garcia's statement

      was taken at 6:28 a.m. and she did speak English. (R-XIX-67) Hernandez was the first

      Spanish speaking officer to be able to speak with Rodriguez. (R-XIX-68) Hernandez

      described both witnesses as having been through a very traumatic event. (R-XIX-69)

      Rodriguez told Hernandez that one of the men in the room was a black man. (R-XIX-69)

      Hernandez stated that black Columbians and black Dominicans (or individuals from those

      countries) have a different accent that people who speak Spanish from Mexico. (R-XIX-70)

      He stated that he believed that both witnesses' statements were consistent with each other.

      (R-XIX-71) When Hernandez questioned Arturo Rodriguez about being a drug dealer,

      Rodriguez denied it several times. (R-XIX-72, 73) When Hernandez spoke with Diana

      Garcia, she did admit to the drug dealing after first denying it. (R-XIX-73) Garcia said she

      would quit lying and tell him the truth. (R-XIX-74) She identified Chico and Angelita as her

      supplier. (R-XIX-7 4) Hernandez was able to determine that "Chico" was Ob el Cruz Garcia.

      (R-XIX-74) Hernandez explained that Garcia and Rodriguez were really deep into drug

      dealing, otherwise the assaults would not have occurred the way they did. (R-XIX-75, 76)

      He stated that from his experience he knew that right from the beginning. (R-XIX-76) When

      Rodriguez described the mask being worn by the man, he said it was either brown or black,

      but the lighting was not so good. (R-XIX-77) During his investigation, Hernandez received

      a tip about the Rendon Auto Shop. (R-XIX-84) By October 5, 1992, officers had not been

      able to find Obel Cruz Garcia. (R-XIX-85) On November 5, 1992, Hernandez spoke with

      the owner Rogelio Rendon. (R-XIX-85) Hernandez saw Mr. Rendon drive up to his shop



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      accompanied by Candido LeBron. (R-XIX-86) Hernandez indicated that Angelita Rodriguez

      was the wife of Obel Cruz Garcia. (R-XIX-89)

             During cross-examination, Appellant's counsel questioned Hernandez about how he

      related the description of the individuals involved. (R-XIX-95, 96) In his report, Hernandez

      noted that the individual that they were looking for was not a Mexican nor was he a white

      man and that the individual identified as he spoke like a black man. (R-XIX-97) (R-XIX-98)

      Even as Ms. Garcia spoke to this witness about her son being abducted, she did not

      immediately tell the truth about the drug business. (R-XIX-99) He indicated that finding the

      child was the number one priority. (R-XIX-100) Hernandez also acknowledged thatArturo

      Rodriguez volunteered to him that he had no idea why anybody would break into the house

      and assault him and assault his wife. (R-XIX-101) Appellant's counsel was prohibited from

      questioning the witness about whether it would be just an oversight on the part of Rodriguez

      or that he was lying. (R-XIX-101, 102) He also noted that at page 2.023 of his offense

      report, Diana Garcia had described the mask being worn by the tall black man as a red and

      white. (R-XIX-104)

             Eric Johnson testified that in 1992 he was assigned to the Violent Crime Squad in the

      Houston division of the FBI. (R-XIX-134) He was assigned to the abduction or kidnaping

      investigation of Angelo Garcia, Jr. (R-XIX-135) He spoke to individuals involved in the

      investigation, including Diana Garcia and Arturo Rodriguez. (R-XIX-13 7) He stated that the

      number one priority was to locate the child. (R-XIX-138) He stated that Appellant was

      developed as a suspect early on in the case. (R-XIX-138, 139) The agent testified that



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      initially they used surveillance and interviews were conducted in an effort to find Appellant,

      but they were unsuccessful. (R-XIX-139) The investigation led to Angelita Rodriguez,

      Appellant's wife. (R-XIX-140) He stated that he knew that Appellant was to appear in a

      court on October 8, 1992, but he did not appear. (R-XIX-140) He noted that the court date

      was one week after Angelo Garcia, Jr. went missing. (R-XIX-142) The agent stated that at

      some point his investigation shifted from Houston to Puerto Rico. (R-XIX-144)

             Linda Hernandez testified that in 1992 she was having a relationship with an

      individual she knew as Charles whose real name was Bienviendo Melo (R-XIX-148) She

      identified a picture of Charlie (SX#89). (R-XIX-150) Hernandez stated the lasttimethat she

      had contact with Charlie was some 11 years ago. (R-XIX-151, 15 2) She stated that Charlie

      was involved in drug dealing with "Chico "who was Obel Cruz Garcia. (R-XIX-152) From

      observing the two individuals, Hernandez said that Appellant was the one in charge. (R-XIX-

      153) She identified the person that she knew to be Rudy who was also dealing drugs with

      Appellant. Rudy's actual name was noted as Carmelo Martinez Santana. (R-XIX-154) The

      witness indicated that both Charles and Rudy did whatever Appellant told them to do. (R-

      XIX-155) She described Rudy's complexion as dark and they would often mistake him as

      being black. (R-XIX-15 5) She said that in places like Puerto Rico, the Dominican Republic

      or Columbia individuals refer to people as black because they have dark skin. (R-XIX-156)

      She recounted how in the early morning hours of October 1, 1992, the police came and

      talked with her and Charlie. (R-XIX-156) Hernandez stated that the police believed that they

      had information regarding the case, but they actually didn't. (R-XIX-15 7) She stated that she



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      was home asleep when this incident took place. (R-XIX-157) She stated that they slept until

      she received a telephone call from Appellant. (R-XIX-159) Appellant was asking for a ride,

      but Hernandez told Charlie not to do it and he did not. (R-XIX-159) Hernandez said that

      Appellant had mentioned that he was in Baytown when he needed the ride. (R-XIX-159)

      Rudy was with Appellant when Hernandez received the call at about 2:00 a.m. (R-XIX-160)

      Appellant indicated that he still needed the use of a vehicle and Hernandez said that "We told

      them they could use it, they just had to come over." (R-XIX-160) She stated that Appellant

      and Rudy arrived at her house in a taxi somewhere between 2:30 a.m. and 3 :00 a.m. (R-XIX-

      162) She stated that they came and got the car and only stayed a brief period of time. Rudy

      was acting real nervous. (R-XIX-163) She stated that Appellant did not seem nervous. (R-

      XIX-163) She described Appellant's look as a scary one. (R-XIX-163) Appellant borrowed

      a gold car in the early morning hours of October 1, 1992. It was brought back a few days

      later by Rudy. (R-XIX-168) The witness indicated that when the car was brought back, it

      was very dirty. She noticed it because Charlie was real clean and always kept it clean. (R-

      XIX-169) She stated that after October 1, 1992, shedidnotAppellantagain. Hernandez had

      a conversation with Angelita (R-XIX-170) Angelita ended up staying at a hotel not at this

      witness's house. (R-XIX-171) The witness indicated that she thought it was strange that

      Angelita would not stay in her own home after October 1, 1992. (R-XIX-1 71) This witness

      then identified Appellant in the courtroom. (R-XIX-172)

             During cross-examination, she described Rudy as having a light complexion. She also

      said that her mom didn't really trust Rudy. (R-XIX-173) It bothered this witness that Rudy



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      always wanted to take her son to the store with him, She never allowed this. (R-XIX-173)

             John Swaim, a retired Houston Police Department officer, testified that he was

      involved in the Angelo Garcia, Jr. case in 1992. (R-XIX-177) On October 5, 1992, Swaim

      went to a location in Humble attempting to investigate a possible drug supplier and to find

      Chico. (R-XIX-180) His investigation revealed that Chico and another Hispanic male moved

      out over the weekend which would have been October 3rd or 4th. (R-XIX-181) When the

      officer learned that Chico may have been back at the apartment on October 6th, he went there

      and the door was answered by Candido LeBron. (R-XIX-185) The officer was suspicious

      of LeBron because he spoke with a Spanish accent which people from the Virgin Islands

      don't use. (R-XIX-185) Swaim identified a photograph ofLeBron. (R-XIX-185) Later in

      the investigation, this individual was actually identified as Rogelio Aviles. (R-XIX-187)

             Randy Rhodes, with the Baytown Police Department, testified that on November 4,

      1992, at about 5:00 p.m., he responded to the scene of a body in a waterway. (R-XIX-192)

      Evidence from the scene included a pair of shorts with a Batman logo on it and at-shirt. (R-

      XIX-203)

             Dr. Dwayne Wolf, the Deputy Chief Medical Examiner for Harris County, Texas,

      testified that he was familiar with Dr. Vladimir Parungao who was employed by the Harris

      County Institute of Forensics Sciences in 1992. (R-XX-6) Dr. Wolf testified that the cause

      of death is the injury or disease that initiates the sequence of events that culminates in death.

      (R-XX-7) He stated that manner of death is listed as either natural, accidental, suicidal, or

      homicide and a fifth category of undetermined. (R-XX-8) He stated that in some cases the



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      cause of death is going to be undetermined, but that a manner of death could still be

      determined by looking at the investigation and all the circumstances surrounding what

      happened to the individual. (R-XX-9) Dr. Wolf reviewed the 1992 autopsy of Angelo

      Garcia, Jr done by Dr. Parungao and did not find any injuries on the bones, such as cut

      marks, bullet holes. (R-XX-11) After reviewing everything, Dr. Wolf concluded that his

      opinion was that the manner of death was a homicide. (R-XX-12) He testified that the

      remains found of the decedent were consistent with the body being submerged in water for

      up to five weeks. (R-XX-12) Dr. Wolf was asked what would happen if there had been

      blood on an item of clothing that was submerged in water for several weeks. Dr. Wolf

      indicated that blood washes away. (R-XX-15)

             During cross-examination, Dr. Wolf was asked about bones that were found at the

      scene and that 18 of the 24 rib bones were located. (R-XX-17) After having Dr. Wolf show

      the various location of the different bones that were recovered, Appellant's counsel asked

      Dr. Wolfifhe agreed that he couldn't conclude that the person was stabbed or shot or beaten

      to death. Dr. Wolf agreed. (R-XX-20) He also stated he had no prior medical records so he

      did not know what type of health the child was in prior to death. He also indicated that he

      could not tell whether the person had drowned. (R-XX-20) He stated he could not tell

      whether this individual drowned or not based on the examination of the remains. (R-XX-20)

      When asked a hypothetical question whether the child could have been out fishing, could

      someone have accidently fell out of a boat and drowned, the doctor indicated that was

      possible. (R-XX-21)



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             On redirect examination, Dr. Wolf, in response to the Prosecutor's questions,

      indicated that his evaluation of this case was predicated upon the investigator's report and

      the fact that the child had been taken from his home and he didn't simply wander away. (R-

      XX-24)

             During re-cross examination, Dr. Wolf acknowledged that all of the information he

      had received regarding the abduction of the child and it being done in a violent manner is all

      based on what somebody else had told him and was not based upon any medical evaluation

      that he performed. (R-XX-31)

             Eric Mehl, a former officer with the Houston Police Department, testified that in 1993

      he was reassigned to the homicide division. (R-XX-35) In 2004, HPD started a cold case

      squad within the homicide division. (R-XX-35) Mehl looked for cases that would have

      possible DNA that could be tested. (R-XX-37) Mehl testified that when he saw that Diana

      Garcia was listed as a victim along with her son, he thought that there might be DNA that

      could be tested. (R-XX-38) He evaluated what articles of evidence he needed to send off to

      a private lab for testing. (R-XX-39) When asked if back in 1992 DNA was in its infancy, as

      far as using it for law enforcement purposes, Mehl responded "It was." He had never even

      thought of using DNA technology to solve a crime over at HPD at that time. (R-XX-40)

      When asked ifin 1992 he would have collected a cigar from the scene because of DNA, he

      responded he would have collected the cigar, but not for DNA purposes. (R-XX-41) He

      stated that DNA was not what was being thought about, but rather blood and semen. (R-XX-

      42) Mehl stated that he did not have a DNA sample from Appellant because he was not



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      available to give one. (R-XX-42) Mehl said that he opened the case in September, 2007 and

      that he wanted to obtain a CODIS for the DNA profile that he could have entered into the

      CODIS System which is the Combined DNA Index System. (R-XX-43) He stated that he

      went to the HPD property room and recovered the cigar which was packed in a plastic bag

      within a large manila type envelope. (R-XX-45) He took the cigar and put in the cold case

      storage room located at 1100 Goliad. (R-XX-46) Mehl also retrieved the sexual assault

      evidence kit (SX#33) from the property annex room located at 1200 Travis. (R-XX-46) He

      took the sexual assault kit which appeared to be in good condition and sealed up and put it

      in a shipping box. He then shipped it to a private lab Orchid Cellmark. (R-XX-47) The

      items, including the sexual assault kit, the cigar, the cutting from the panties were sent to

      Orchid Cellmark to develop a DNA profile from them, as well as to develop Diana Garcia's

      andArturoRodriguez'sDNAprofile for comparison. (R-XX-48) On December 5, 2007, an

      analysis was received by Mehl. (R-XX-48) Even after comparison, as of January 16, 2008,

      there was still an unidentified male profile which was found on the evidence. (R-XX-49)

      Mehl, with the assistance of the FBI in Puerto Rico, obtained a DNA sample from Appellant.

      (R-XX-50) The FBI sent the sample by FedEx to Mehl who in tum sent it to Orchid

      Cellmark via FedEx. (R-XX-50) The DNA sample from Appellant was obtained by HPD

      on May 23, 2008. (R-XX-51) Mehl left the DNA in the sealed packaging and sent it directly

      to Orchid Cellmark with instructions to develop the DNA profile of Appellant and compare

      it against the DNA profile that was developed in this case. (R-XX-51) The results of that

      testing were received by Mehl on July 30, 2008. (R-XX-52) Once Mehl had the results, he



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      contacted Diana Garcia and Arturo Rodriguez and interviewed them regarding the case. (R-

      XX-54) On September 5, 2008, Mehl filed a capital murder charge against Appellant. (R-

      XX-56)

             Prior to cross-examination, Appellant's counsel approached the bench and pointed out

      that the officer said that DNA was not even thought about at HPD in 1992 and that he wanted

      to question him about that. (R-XX-56) The court indicated that would be done outside the

      presence of the jury. (R-XX-58) While the court was attempting to determine exactly what

      Mehl had said on direct examination, the court reiterated that it was not going to allow

      Appellant to go into the crime lab situation. (R-XX-59) Outside the presence of the jury,

      Mehl acknowledged that the crime lab was processing evidence in 1992 and it was being

      processed to solve crimes. (R-XX-61) The trial court ruled that in order to not leave a wrong

      impression on the jury, Appellant would be allowed to question the officer about the fact that

      the crime lab did process DNA, but he was not allowed to go into any details about the crime

      lab. (R-XX-62, 63) The trial court specifically noted for the record that the Prosecutor left

      the impression with the jury that DNA was not even thought about in 1992 in general, much

      less this case, and it was submitted to the HPD crime lab for DNA analysis. Appellant's

      counsel again reurged his desire to go into a more deep evaluation of genetic design and the

      HPD crime lab studies which was denied by the trial court. (R-:XX-66)

             Appellant cross-examined Eric Mehl regarding his role in the case. (R-XX-66) Mehl

      admitted that in 1992 HPD did have a crime lab that was processing evidence for DNA

      analysis. (R-XX-67) He also admitted that in this very case, items were submitted to the



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      HPD crime lab for processing of DNA. (R-XX-67) Mehl admitted that when he went to see

      Diana Garcia he told her about the results of the DNA testing in this case. (R-XX-68)

             Griselle Guzman, with the FBI, testified that her work centered on San Juan, Puerto

      Rico. (R-XX-71) In May, 2008, she received an assignment to obtain a buccal swab from

      Appellant. (R-:XX-73) On May 21, 2008, this agent took a buccal swab from Appellant. (R-

      XX-74) After sealing the buccal swabs, this agent submitted the items as evidence. (R-XX-

      76, 77) The court admitted State's Exhibit Nos. 65 and 66 into evidence. (R-XX-77)

      Guzman stated that she sent her report along with the evidence in a FedEx envelope to

      Detective Eric Mehl with the Houston Police Department. (R-XX-78)

             Angelita Rodriguez, from the Dominican Republic, testified that her ex-husband was

      Appellant, Obel Cruz Garcia. (R-XX-82) She identified Appellant in court. (R-XX-82) She

      stated that Appellant was originally from Dominican. (R-:XX-84) She stated that she knew

      her husband by the name of Obel and also "Chico." (R-XX-84) She stated that she knew an

      individual by the name of "Rudy" who was actually her cousin, Carmelo Martinez. (R-XX-

      85) This witness introduced her cousin to Appellant. (R-XX-85) At some point after the

      couple arrived in Houston, she suspected that Appellant was involved with drugs. (R-XX-87)

      Rodriguez suspected that Appellant was using and dealing drugs. She also knew him to

      occasionally smoke cigars. (R-XX-88) Rodriguez stated that her relationship with Appellant

      was different in the United States than what it was in Puerto Rico. (R-XX-89) She indicated

      that at some point she met a couple by the name of Diana Garcia and Arturo Rodriguez. (R-

      XX-89) Rodriguez stated that at one point she even began dealing drugs with Appellant and



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      that she had a case for drugs which she ended up being convicted of. (R-XX-92) Rodriguez

      and Appellant lived in Humble at the time that they knew Garcia and Rodriguez. (R-XX-94)

      The apartment they stayed in was actually rented for them by Diana Garcia. (R-XX-94)

      Rodriguez stated that the couple owned two cars, a blue Thunderbird and an Oldsmobile. (R-

      XX-95) In September, 1992, Diana was at her home in Humble when she saw a news

      broadcast that Angelo Garcia was missing. (R-XX-97) Rodriguez woke up Appellant and

      told him about the news, but he did not respond. When she stated that she wanted to go over

      to Diana's, Appellant told her to go if she wanted to. (R-XX-98) Rodriguez stated that

      Appellant did not go with her and it seemed strange that he acted so calmly about that news.

      (R-XX-98) Atthat point, Appellanttold his ex-wife that he was leaving to go to Puerto Rico.

      (R-XX-99) She stated that Appellant simply said that he had to leave and that it was not a

      planned trip. (R-XX-100) Appellant made the comment that he had to leave, but that if she

      stayed the police would come and get her. (R-XX-100) On the evening before the abduction

      of Angelo, Rodriguez stated that she went to bed around 9:00 p.m. and that Appellant was

      there at the apartment in Humble. (R-XX-101) She stated that because of a fight months

      before, they stayed in separate rooms and she was unaware of when Appellant may have left

      the apartment that night. (R-XX-102) When she woke up the next morning, Appellant was

      at the apartment. (R-XX-102) Once Appellant left for Puerto Rico, he never returned to

      Houston. (R-XX-103) Rodriguez testified that Appellant had an upcoming court date which

      he missed it. She stated that he had never missed court dates before. (R-XX-103, 104)

      Rodriguez left Houston and went to Santa Domingo where she found Appellant. She went



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      there wanting a divorce. (R-XX-105) Appellant told Rodriguez that he would not give her

      a divorce. (R-:XX-106) She stated that Appellant insulted her and then told her that he was

      going to harm her family. (R-XX-106) Rodriguez asked Appellant whether he had anything

      to do with Angelo. Appellant said that he did and that he had killed him. (R-XX-107) When

      Rodriguez was asked "Did he say anything about why he had done it", she stated that she did

      not remember what else he said. (R-XX-107)

             During cross-examination, Rodriguez stated that on May 3rd when two defense

      investigators came to her salon, she told them she didn't have to talk to them or answer their

      questions. (R-XX-109) She stated that when she was asked questions by the investigators,

      she did not tell them anything about Appellant confessing to murdering the little boy. (R-XX-

      110) She admitted that she had previously met with the detective and a district attorney

      along with her own lawyer about this case. (R-XX-110, 111) Although Rodriguez related

      how she had discussed a number of things with these individuals in the investigation, she

      stated that she was scared and that's why she forgot to mention that Appellant had confessed

      to her about killing the boy. (R-XX-112)

             Carmelo Martinez Santana testified that he was originally from the Dominican

      Republic. (R-XX-172) He stated that Angelita Rodriguez was his cousin and Appellant was

      her ex-husband. (R-XX-118) He stated he came to the United States in the late 1980's to sell

      drugs. (R-XX-118) At the time of this trial, this witness was serving time in a federal

      penitentiary for trafficking drugs. (R-XX-119) Santana met Appellant through his cousin

      Angelita Rodriguez. (R-XX-119) He stated that Appellant came to the United States with



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      him to sell drugs. (R-XX-120) While living with Appellant in Houston, both were using

      cocaine. (R-XX-122) When Santana began using cocaine, he became addicted, Appellant

      took over control of the drug selling operation. (R-XX-123) He described Appellant as

      somebody who nobody would mess around with because he controls everything. (R-XX-123)

      Santana said that on one occasion he was especially frightened by Appellant because he had

      taken him by the neck and tied him up. Appellant told him that he was going to kill him

      because he thought he was taking customers away from him. (R-XX-124) Santana said that

      when Appellant and his· wife moved to Humble he would stay with them at times. He

      described Appellant having a 4-door Chevrolet, blue in color, as well as Angelita having a

      Thunderbird. (R-XX-128) He said that sometimes Appellant would loan his cars to people

      who worked for him. (R-XX-128) Santana said the he would often lend his cars to an

      individual named Charlie (SX#37). (R-XX-129) Santana said that Appellant had guns,

      including a .45. (R-XX-129) In 1992, Santana said that Appellant also had a .22 rifle. (R-

      XX-129) Santana testified that Appellant would often go to Diana and Arturo's apartment

      for the purpose of drugs. (R-XX-13 2) Santana described the relationship between Appellant

      and his wife and Arturo and Diana as close friends. (R-XX-133) He was not aware of any

      romantic relationship between Appellant and Diana. (R-XX-133)          Santana said that

      Appellant was fairly open about the fact that he was not faithful to his wife Angelita

      Rodriguez. (R-XX-134) On the evening that Angelo was taken, Santana said that Appellant

      said that he wanted to go and get his drugs and money from Diana and Arturo. (R-XX-13 5)

      Santana stated that on that evening, he along with Appellant and an individual named Roger



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      went in Appellant's blue Chevrolet 4-door car to Diana's to pick up the money. (R-XX-13 7)

      Once they arrived at Diana's apartment, Appellant and Roger left Santana sitting in the car

      behind the apartment. (R-:XX-137) Santana said that Appellant had him move over to the

      driver's seat to wait there for him. He said that Appellant took a .45 pistol with him, along

      with Roger. (R-:XX-141) He described Roger as tall and having a strong build and being

      larger than Chico (Appellant). (R-:XX-142) He also described Roger as having a dark

      complexion. (R-:XX-142) Santana stated that Roger had a small pocket knife with him and

      also said that both individuals had black masks. He wasn't exactly sure what masks they had

      that night. (R-:XX-143) Appellant and Roger were gone for about a half hour and when they

      returned, Appellant had a little boy in his arms. He also saw the .45 caliber weapon at that

      time. (R-XX-143) Santana got up from his seat and asked Appellant "What's going on?

      Why do you have the little boy?" He stated that the little boy was Angelo Garcia, Jr.

      Santana stated that Appellant said he (referring to Angelo Garcia) "saw". (R-XX-144)

      Santana told Appellant to take the child back to his mother. (R-:XX-145) Appellant told

      Santana that he had raped Diana and that Arturo had been beaten. (R-:XX-145) Santana kept

      wanting Appellant to take the child back to his mother and Appellant left for about

      5 minutes. (R-:XX-146) Santana could not recall whether Appellant had the boy with him

      when he went to the mother. He stated that it's that he may have had the boy in his own arms

      at the time. (R-:XX-146) When Appellant came back to the car, Roger was with him. (R-XX-

      146) Santana moved to the back seat and sat with Angelo Garcia. (R-:XX-14 7) Santana

      described Appellant driving the car holding while holding a gun. (R-:XX-148) Appellant



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      drove to Baytown. (R-XX-148) He stated that Appellant drove the car to a street where

      ended. (R-XX-148) Santana believed that Appellant was going to kill the little boy. (R-XX-

      149) Appellant said" Bory, you already know what you have to do" (R-XX-149) As they

      were walking, Santana became ill, actually defecating. (R-XX-150) Santana heard a scream

      from the little boy. When Santana walked back towards the car, he saw the body of the little

      boy. (R-XX-151) Appellant then ordered Bory and Santana to put the body in the back seat-

      which they did. (R-XX-152) They drove around Baytown and came to an area near a river

      where they were ordered to dump the body into the river. (R-XX-153) Appellant told Bory

      and Santana to get something so that the body would sink under the water. (R-XX-15 3) As

      they were driving away, Santana said the tires on the vehicle were blowing up, eventually all

      four tires blew up. (R-XX-155) They all then went to a motel on225. (R-XX-155) On the

      next day, while they were at Chico's house in Humble, Appellant said that he was leaving

      Houston. (R-XX-158) On that next morning, Appellant took his car to the Rendon garage

      to get new tires. (R-XX-161) After cleaning up the car, it was sold. (R-XX-161) Appellant

      used the money from the sale of the car to buy a plane ticket either to Puerto Rico or the

      Dominican. (R-:XX-162) Santana drove Appellant to the airport on Friday, then went back

      to his Appellant's apartment in Humble. (R-XX-162) Other than seeing Appellant injail

      where he was currently housed, Santana said he had not seen Appellant since dropping him

      off at the airport. (R-XX-164) Santana stated a couple of years ago while he was doing

      prison time in Pennsylvania, an FBI agent named Bill Eversol came to see him and that was

      the first time he told the whole story about that night. (R-:XX-165) Santana said that no



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      promises were made to him to testify and he knew he could get in a lot of trouble because of

      his involvement. (R-XX-166) Santana said that as they drove on Highway 59 North,

      Appellant told him to throw the knife away which he did. (R-XX-166) The Prosecutor then

      had Rogelio Aviles Barroso (SX#34) brought into court to stand next to Appellant. (R-XX-

      167)

             William Ebersol, with the Federal Bureau oflnvestigations, testified that he was asked

      to interview Carmelo Martinez at a prison in Pennsylvania. (R-XX-176) Ebersol hoped that

      Martinez would have information about Appellant. Ebersol did not realize that he was going

      to be receiving first-hand knowledge about the killing. (R-XX-178) The touchstone event

      which seemed to change Martinez's view of things was when the agent showed him the

      photographs of the victim in this case. (R-XX-179) The agent purposely did not disclose a

      lot of the details of the case in an effort to give Martinez to supply information about the

      case. (R-XX-180)

             Carmelo Martinez Santana was recalled as a State's witness. (R-XXI-4) Santana then

      identified Appellant as Obel Cruz Garcia also known as "Chico." (R-XXI-6) Santana then

      identified a photograph of Roger, "Bory". (SX#91 ). (R-XXI-7) He described Roger in 1992

      as a bigman with a bulky build. (R-XXI-8) He also identified Angelo (SX#31). (R-XXI-11)

      Santana testified that he had no type of deal for his testimony in this case. (R-XXI-12) When

      questioned about his concern of leaving the federal penitentiary in Pennsylvania and being

      secured because he was going to testify against Appellant, this witness said he did not

      remember. The prosecutor then stated "J think Agent Ebersol will." (R-XXI-13)



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             During cross-examination, this witness reluctantly acknowledged that he never had

      any type of charge in this case. He attempted to avoid answering the questions of whether

      he had ever been charged in this matter by saying he did not care and he was there to tell the

      truth. (R-XXI-15, 16)

             The witness admitted that Appellant was in Puerto Rico when he first came to the

      United States and began using drugs and selling drugs and that Appellant was not part of

      that. (R-XXI-32) Santana denied that it was inconsistent that on the one hand he tried

      blaming Appellant for his problems while staying with Appellant through thick and thin. (R-

      XXI-33, 34)

             During cross-examination, this witness denied saying that he described the place

      where the little boy was killed as an area near where Diana Garcia and he had lived. (R-XXI-

      35, 36) Yet, during his direct examination by the State, he said that there's where we used

      to live before Ms. Diana and I we were neighbors. (R-XXI-9) Santana denied telling the FBI

      agents when they first came to visit him that he was familiar with the Baytown area because

      he used to sell drugs in that area. (R-XXI-3 7) He stated that he was able to recall the specific

      route that they took when they took the little boy 21 years ago, just based on just one trip

      there. (R-XXI-37) This witness again said that he was not familiar with Baytown and that

      he had not sold drugs to people in Baytown. (R-XXI-38) Once again, Santana said that he

      never told the jury that the place where the boy was killed was near where he and Diana used

      to live. (R-XXI-38, 39) He also denied telling the jury the day before that (Appellant) slept

      with his wife Angelita on the night that the young boy was killed. (R-XXI-40)



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             During further cross-examination, he stated that Appellant stayed up the rest of the

      night using drugs. (R-XXI-40) The witness then attempted to explain that "go to sleep"

      meant go to the apartment. (R-XXI-42) Santana stated that it was possible that he and

      Appellant had been to Diana's apartment earlier in the day of the killing. (R-XXI-43)

      Santana then said that Appellant used a pay phone to call a taxi after the young boy was

      killed. (R-XXI-44) Santana said he told the FBI that all four tires blew on their vehicle. He

      stated that he did not recall telling the FBI that only two of the tires blew on the car. (R-XXI-

      45) Appellant's counsel questioned Santana about whether he had told the FBI that he had

      defecated that night. The witness again attempted to sidestep the question, but eventually

      said he did not remember. (R-XXI-48) Santana said that the time Appellant was gone from

      the car to Diana's apartment on that night was 30 to 40 minutes. He denied telling the FBI

      that it was 5 to 10 minutes because he said that's not how it was. (R-XXI-49) When

      questioned about the demeanor of the young boy, Santana said that he was not crying and that

      he was very calm because we're family. (R-XXI-50) When Appellant was carrying the little

      boy, he did not have a mask on. (R-XXI-51) When questioned about whether the boy was

      left with him in the car when Appellant went back to the mother's apartment, this witness

      was unsure of whether the boy stayed with him or went with Appellant. (R-XXI-51) He

      denied telling the FBI that Appellant had given the boy to Rogelio. (R-XXI-51) Santana said

      that Appellant had a firearm and Rogelio had a pocket knife. (R-XXI-52) When asked where

      he was when the little boy was killed, Santana said that he was walking. (R-XXI-54)

             Santana could not say where Roger or Rogelio was at the very point in time that the



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      little boy screamed. (R-XXI-55) Santana responded to questions about the location of

      Rogelio by stating that "I have always believed that Rogelio is the one who killed him

      because he ordered it. He is the one who told him you know what you have to do." (R-XXI-

      57) Santana said that he may have told the FBI that Rogelio exited the vehicle and took

      Angelo to the driver's side rear of the car. (R-XXI-57) Again, Santana said that he believed

      that Rogelio killed the boy, but he did not actually see him kill the boy. (R-XXI-60) Santana

      stated to the jury that he felt threatened by Appellant when they got back from the boy's

      killing. (R-XXI-61) He admitted that he told the FBI that Appellant, Rogelio and Martinez

      made a pact never to tell what had happened and wasn't based upon threats. (R-XXI-61)

             William Ebersol, with the FBI, was recalled for cross-examination. (R-XXI-64)

      Ebersol stated that he and Agent Mike Hawthorne went to interview Martinez in prison. (R-

      XXI-65) Ebersol testified that the interview with Martinez was not recorded I it was an oral

      conversation. (R-XXI-65) He stated that he took notes of the conversation he had with

      Santana Martinez. (R-XXI-66) Ebersol agreed that he and Hawthorne did the very best they

      could to record what was said during the conversation. (R-XXI-67) Ebersol stated that he

      had no problem communicating with Martinez when they interviewed him. (R-XXI-68) He

      stated that he stood by the accuracy of the report that he made concerning this interview as

      reflected in the 302 document. (R-XXI-68) Ebersol agreed that a traumatic event like

      defecating would not have been something he left out of his report. (R-XXI-69) He stated

      he never recalled Martinez ever saying that he defecated. (R-XXI-69) Ebersol also

      contradicted Martinez when he related that on page 9 of his report that Martinez told him he



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      was familiar with Baytown because that is where he sold drugs. (R-XXI-69) He also stated

      that Martinez told him that he was familiar with Baytown because he had been there many

      times and had friends there for the purpose of dealing drugs. (R-XXI-70) He also stated that

      there was a reference to the fact that Martinez said that when Rogelio and Chico returned,

      it was approximately 5 to 10 minutes later and that Appellant was holding Angelo. (R-XXI-

      71) He also stated that in the report Martinez told him he believed that Appellant handed

      Angelo to Rogelio. (R-XXI-71) Ebersol agreed that one of the ways to determine if an

      individual played a role in an offense was to see where they were at the time the killing

      actually took place. (R-XXI-72) Ebersol said that Martinez told him that Rogelio exited the

      vehicle and took Angelo to the driver's side rear area of the vehicle. (R-XXl-73) He also

      stated that while Martinez did not say he saw Rogelio stab or slash Angelo, he did hear

      Angelo cry out one time, then heard Angelo say "Ulf' and then he heard him hit the ground.

      (R-XXI-74) He also said that the very next thing was that he said that Chico (Appellant) was

      at the front of the car looking around. To which Ebersol said, yes, that is what Martinez told

      him. (R-XXI-74) Ebersol also said that Martinez told him that in order to try and get the

      body to go under water, they had to put blocks on it. (R-XXI-74) When Ebersol interviewed

      Martinez, Martinez only said that there were two tires that blew out on the car, he never

      mentioned the third or a fourth tire blowing out. {R-XXI-75) He also said that the

      individuals, Appellant, Rogelio and Martinez made a pact never to tell what happened that

      night. (R-XXI-76) He characterized the agreement as referring to an agreement amongst the

      three parties, not a threat. (R-XXI-76) He also noted that Martinez said that when they got



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      back to the apartment, Appellant went in to sleep with Angelita. (R-XXI-77) Ebersol noted

      that ifthere had been any mention of drug use as Martinez claimed, Appellant had stayed up

      all night using drugs, he would have typed it in his report. (R-XXI-77)

              Micah Webb, an investigator with the Harris County District Attorney's Office,

      testified that he assisted in the preparation of Appellant's case for trial. (R-XXI-84. 85)

      Webb stated that after the FBI had interviewed Martinez in jail, locating Rogelio Aviles

      became more important. (R-XXI-90) After interviewing this individual known as Candido

      LeBron or Roger, Webb participated in preparing capital murder charges against Rogelio

      Aviles Barroso. (R-XXI-91) Webb also took a buccal swab from Appellant on February 16,

      2010.

              Matt Quattaro, a supervisor of forensics at Orchid Cellmark in Dallas, Texas, testified

      that Orchid was an independent lab that performed DNA testings on specimens from criminal

      cases around the country. (R-XXI-103) Quattaro testified that a DNA analysis was done in

      the Obel Cruz Garcia case. (R-XXI-105) Orchid Cellmark first received evidence in the case

      on October 3, 2007. (R-XXI-105) The evidence which was sent to Orchid Cellmark by

      Detective Mehl included a cigar, sexual assault kit, and referenced samples from Diana

      Garcia and Arturo Rodriguez. (R-XXI-106) At that point in time, no sample from Appellant

      had been received. (R-XXI-106) The initial evaluation of the cigar revealed two referenced

      samples, neither of them matched, so they had an unknown male contributor. (R-XXI-109)

      The sexual assault kit was tested and DNA from Diana Garcia was found, as well as Arturo

      Rodriguez not being excluded as a possible contributor. Since there was a mixture, this left



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      another unidentified male contributor. (R-XXI-112) The profile of the cigar could also not

      be excluded as a contributor to the vaginal swab. (R-XXI-113) Testing was done on the

      cutting from a pair of panties and the results were that Diana Garcia's DNA was located on

      them. (R-XXI-113) Again there was a mixture of semen on the panties and Arturo

      Rodriguez could not be excluded as one of the minor contributors to the sample. (R-XXI-

      114) The major profile or contributor to the most of the DNA was an unknown individual

      whose DNA was also on the cigar. (R-XXI-114) Additional evidence was received from

      Sergeant Mehl on December 7, 2007. (R-XXI-115) Other samples were sent in for testing.

      (R-XXI-115) On May 28, 2008, Orchid Cellmark received a referenced sample from

      Appellant, Obel Cruz Garcia. (R-XXI-115) The swabs were sent from Gracel Guzman from

      the FBI as documented in State's Exhibit No. 95. (R-XXI-119) The DNA profile from the

      cigar matched the DNA profile that came from Appellant. (R-XXI-119) Appellant could not

      be excluded as a possible donor to the sperm fractions of the vaginal swabs, and the DNA

      that was obtained from the cutting of the panties as well. (R-XXI-119, 120) Appellant was

      identified as the major contributor to the profile found on the panties. (R-XXI-120)

             During cross-examination, this witness agreed that Orchid Cellmark had quality

      control procedures to assure that they are getting the best and most accurate results from their

      testing. (R-XXI-128)      He agreed that quality control is in place to try and avoid

      contamination. (R-XXI-128) The witness detailed the steps taken to try and avoid any type

      of contamination of the DNA sampling under test. (R-XXI-129, 130) He agreed that Orchid

      Cellmark could not control or attempt to control other labs quality control. (R-XXI-130)



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      When asked whether or not the evidence was handled by the HPD crime lab, the witness

      stated that he could tell it was somewhere before it was sent to him, but he did not know who

      beforehand. (R-XXI-130) He stated that he did not know Appellant and that the sample that

      he received was marked with Appellant's name on it. (R-XXI-130) The samples that he

      received were simply in an envelope with his name on it. (R-XXI-131) He stated that he did

      not know exactly where that came from but that somebody else provided that to him. (R-

      XXI-131) He stated that epithelial cells which were being examined are not observable by

      the naked eye, but could be seen with a microscope. (R-XXI-132) The same held true for the

      sperm fractions which are microscopic. (R-XXI-132) Quartaro stated with regard to the

      sperm cell there was no way to tell where that really came from, that he had to rely on the

      labeling that somebody else gave him. (R-XXI-134) He agreed that prior to receiving the

      evidence, he did not know how it was placed, where it was placed, when it was placed, how

      it was collected and how it was stored before it got to him. (R-XXI-134) He could not

      indicate whether the spermatozoa was the result of consensual sex or a sexual assault. (R-

      XXI-134) He confirmed that the epithelial cells which were collected in 1992 were not

      examined until 2007, some 15 years later. (R-XXI-135)

             During re-direct examination, the witness said that he made no observation of

      anything indicating that the evidence had been tampered with. (R-XXI-13 6. 13 7) He testified

      that Orchid Cellmark had received a large cutting from the crotch of the panties and that they

      in tum took a smaller portion or cutting from that for testing. (R-XXI-137, 138) He stated

      that he could not contaminate evidence to create a DNA sample with someone's DNA that



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      he did not have at the time. (R-XXI-138)

             During re-cross examination, this witness admitted and agreed that contamination

      does occur. It doesn't necessarily mean that people are evil. (R-XXI-140) When he received

      the evidence, there was no HPD notations of quality control procedures for assurances

      connected with the evidence. (R-XXI-141)

             Courtney Head, a criminal specialist with the Houston Police Department Crime

      Laboratory, testified that with the exception of identical twins, everybody's DNA is unique

      to that specific individual. (R-XXI-145) She explained the difference between a known

      sample or referenced sample and an evidence sample which is collected and submitted for

      analysis. (R-XXI-146) She identified State's Exhibit No. 64 (already in evidence) as at-shirt

      that was submitted in this case and tested. (R-XXI-154) No blood was detected on thet-shirt.

      (R-XXI-15 5) She testified that in a hypothetical case where the item had been in water for

      30 plus days and exposed to the elements, she would not expect blood to be on the item. (R-

      XXI-15 5) She testified that there was a known sample which had been taken from Appellant

      but which never was seen or touched by Orchid Cellmark. (R-XXI-156) The witness stated

      that she performed extractions on the items. (R-XXI-157) She stated that she compared the

      referenced samples to the evidence. She stated that she compared the known profile with the

      profile that Orchid Cellmark had generated on the same sample. (R-XXI-159) She ultimately

      made comparisons between the known referenced sample, the DNA profile of Obel Cruz

      Garcia, and those three items.     She found that Appellant could not be excluded as a

      contributor to the DNA profile that came from the cigar. (R-XXI-161) She also found that



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      Appellant could not be excluded as a possible contributor to the DNA mixture found in the

      sperm fraction from the vaginal swab of Diana Garcia. (R-XXI-162) Likewise, she stated

      that Appellant could not be excluded as a contributor to the major component of the profile

      from the DNA found on the panties of Diana Garcia. (R-XXI-162)

             During cross-examination Head acknowledged that she had not personally performed

      any testing on the cigar, the vaginal swabs, or the cutting from the panties. (R-XXI-172) She

      admitted that there was no quality control or technical review of her because she didn't do

      any work on them. (R-XXI-172) She stated that she simply reviewed their work. (R-XXI-

      172)

             Appellant was found guilty of capital murder. (R-XXIII-102)

                             PUNISHMENT PHASE OF THE TRIAL

             Manuel Buten testified that he was from Puerto Rico. (R-XXIV-15) Buten was

      married and had children, including a stepson named William. (R-XXIV-15) He stated that

      he had a food truck business in 2001. The name of his business was "El Tropical." (R-

      XXIV-17) In 2001, along with his brother Andres Castillo Buten and his stepson, William

      Garay Martinez, Mr. Buten operated the food truck. (R-XXIV-18) In October, 2001, while

      at the food truck, a man and woman came up and ordered food. That same man later came

      up and said that he liked the music and asked Buten to "pump up the volume." (R-XXIV-22)

      Buten identified Appellant as the individual who requested that the music be turned up. He

      stated that Appellant kept asking him to come down and tum the music up himself, which

      would require him to come out of the truck. (R-XXIV-24) Appellant later came up to the



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      truck and pulled out a .38 revolver and tried to fire it twice, but it did not fire. (R-XXIV-25)

      Buten took off running towards the back leaving the keys to the truck as he ran away. (R-

      XXIV-26) Buten was told that Appellant had taken the boys from the truck and had left. (R-

      XXIV-26) He flagged down police to ask them to look for William and Andres. (R-XXIV-

      27) Appellant later called Buten and said that in order to release the boys he would have to

      supply Appellantwith2kilosof drugs. (R-XXIV-29) WhenButensaid thathe soldmofango

      and fried plantains, a woman got on the line and said that's how they would return the kids

      as mofango and chopped meat. (R-XXIV-29) Buten said that he went to the police station

      and while there Appellant contacted him. Appellant was unaware that Buten was at the

      police station and threatened to kill the boys ifhe did go to the police station. (R-XXIV-31)

      In speaking with Appellant, Appellant told him that Buten had to give him 75 Kilos and a

      $150,000 cash. (R-XXIV-32) In a subsequent conversation with Appellant, Buten asked to

      speak with the boys to make sure that they were alive and he did so. (R-XXIV-33) In yet

      another phone conversation, Appellant threatened to kill the boys ifButen was inside a police

      station. (R-XXIV-36) Appellant also stated that he would see his family on the news. (R-

      XXIV-3 7) The police came up with a plan to try and trick Appellant into thinking that Buten

      was going to meet him at another location. (R-XXIV-38) He made believe that he was

      honking the horn and arguing with other drivers that were around him even though he was

      actually at the police station. (R-XXIV-38) The police went to an area where Appellant was

      supposed to be to meet Buten. (R-XXIV-39) At the scene, the police watched and observed

      somebody they thought was talking on the phone. They gave chase and the person crashed



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      the car. (R-XXIV-40) Appellant had said during conversations with Buten that if he

      continued with his "bullshit" he was going to read about his family in the paper the next

      morning. (R-XXIV-40) A few hours later, the boys were released. (R-XXIV-40) The

      individuals were kidnapped for approximately three days. (R-XXIV-41) Upon their release,

      William had marks on his face and Andres' head was swollen because he had been hit on the

      head with a pipe. (R-XXIV-41) William and Andres' toes were smashed with a hammer and

      they were taken to the hospital. (R-XXIV-42)

             Sergeant Juan DeJesus Rodriguez from the Puerto Rico Police Department testified

      that he was involved in a kidnapping case involving Appellant in October, 2001. He

      identified Appellant in Court. (R-XXIV-45, 46) DeJesus arranged for Buten to come to his

      office so that they could monitor calls made by Appellant and assist in the apprehension of

      him. (R-XXIV-47) Since there was no technology to trace the calls or record them, Buten

      would explain to the police what was being said. (R-XXIV-48) DeJesus would counsel and

      advise Buten about what to say in response to questions during the conversation. (R-XXIV-

      48) DeJesus had Buten receive "signs of life" indicating that the subjects William and

      Andres were alive by placing them on the phone. (R-XXIV-49) DeJesus then explained the

      scenario that played out involving Buten and Appellant. (R-XXIV-52 - 54) Appellant was

      ultimately found hiding in a tree and was taken into custody by the police. (R-XXIV-54)

      DeJesus said that he, along with his partner Melvin Torres, interviewed Appellant. (R-XXIV-

      58) After Appellant was allowed to call the woman he was married to in 2001, both

      individuals were released. (R-XXIV-59) Appellant was filed on for kidnapping, a gun case,



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      and a knife case. Another individual, Pablo Esquivez was implicated in the kidnapping as

      well. (R-XXIV-65) Appellant pied guilty and received a 16 year prison sentence. (R-XXIV-

      65)

              During cross-examination, DeJesus was asked whether or not it seemed odd that an

      individual who owned a small food truck would be asked to supply a $1,000 in cash and

      100 kilos of cocaine to secure the release of these individuals. (R-XXIV-76, 77) He said in

      his training and experience that type of question would be asked to people that might have

      that type of stuff. (R-XXIV-77) He did further investigate to see if these people were

      involved with drugs. (R-XXIV-77) He stated that it turned out that Buten was not involved

      in drugs. (R-XXIV-77)

               Andres Castillo Buten testified that he had a small food truck just like his brother

      Manuel Buten. (R-XXIV-79) Buten identified Appellant as an individual he came into

      contact with on October 11, 2001 at a food truck. (R-XXIV-81) He stated that after eating

      his meal, Appellant came up and produced a weapon and pointed it at his brother. (R-XXIV-

      82) When his brother ran off after Appellant tried to shoot at him, Appellant kept Willie and

      this witness. (R-XXIV-83) Buten then described how he and the other were kidnapped. (R-

      XXIV-85) He was thrown to the ground and into a house by Appellant. (R-XXIV-86) He

      was also assaulted by Appellant inside the house. (R-XXIV-86) Buten was able to identify

      Appellant because Appellant had taken the hood off of his head and he observed Appellant's

      face. (R-XXIV-87) Buten described Appellant having sex with the women he was at the

      food truck with. He stated that he had sex right in front of him. (R-XXIV-90) Buten also



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      described Appellant hitting him with a mallet on his feet. (R-XXIV-91, 92) Buten also

      observed Willie and that he had been beaten up as well. (R-XXIV-93) He described

      Appellant as being the person in charge while all this was going on. (R-XXIV-94) Buten was

      eventually released and he eventually found a patrol car and told him what happened. (R-

      XXIV-95)

             William Garay Martinez also testified about his kidnapping on October 11, 2001 while

      at the food truck in Puerto Rico. (R-XXIV-99) He testified that after Appellant attempted

      to shoot Manuel and Manuel got away, Appellant told the others to get the two that were up

      there which were this witness and Buten. (R-XXIV-102. 103) He identified Appellant in

      court. (R-XXIV-102) Martinez was taken to a house, along with the other individual who

      had been kidnapped, where he was assaulted. (R-XXIV-106) When Appellant left the room

      momentarily, the other individual did nothing to this witness. (R-XXIV-108) He described

      having been hit by Appellant with a revolver and also being cut by a knife that Appellant had

      with him. He also described other threats made by Appellant. (R-XXIV-109) This witness

      remembered times when Appellant told him that he was going to kill him. (R-XXIV-113)

      This witness again identified Appellant as the person that had kidnapped him. (R-XXIV-116)

             Officer Efrain Hernandez with the Department of Corrections in Puerto Rico testified

      that he has always worked on medical services at the Unit. (R-XXIV-120) On October 10,

      2003, this witness stated that he inspected the cell of Appellant. (R-XXIV-120) When

      Hernandez inspected Appellant's prison cell, he noticed something irregular. (R-XXIV-123)

      He noticed that window pane fell out of Appellant's window when touched by a rubber



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      mallet. (R-XXIV-124) Inside Appellant's cell a rope made up of bed sheets as well as a map

      of Puerto Rico were found. He stated that the space opened by the window was enough for

      an individual to climb out. (R-XXIV-125)            He explained that these items were not

      permissible for inmates to have in their cells. (R-XXIV-127) When Appellant was searched

      after being detained in the prison unit, a cell phone was found in his possession. (R-XXIV-

      128) Again, this was a prohibited item. (R-XXIV-128)

             During cross-examination, this witness acknowledged that the main purpose of the

      window which was made of metal was for ventilation. He also noted that if an individual

      jumped out of the window, he would still be in a restricted area within the institution, not the

      free world. (R-XXIV-136)

             James Kennedy with the Houston Police Department that on July 1, 1989, he worked

      in the Crime Scene Unit. (R-XXV-7) Hewenttothe scene at 123 Winkler in Houston, Texas

      on that date. (R-XXV-7) He was investigating a dead body found in an apartment complex

      dumpster at that location. (R-XXV-8) He identified the body as being a Hispanic male. (R-

      XXV-9)      State's Exhibit No. 118 showed three ligature strangulation marks on the

      deceased's neck on the left side.

             Tina Perez testified that when she was sixteen she got separated from her current

      husband and got involved in some stuff that she was not proud of, notably drugs. (R-XXV-

      23) The individuals she was involved with was Elizabeth Ramos, who was a girlfriend of

      Appellant. (R-XXV-24) She stated that she would get drugs through Ramos who in tum

      received them from Appellant. (R-XXV-24) Perez then identified Appellant in court. (R-



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      XXV-26) In 1989, when she was hanging around with Appellant, she knew some of his

      other friends, including "Shorty," Rudy, Saul, and a guy named Robert, whose real name was

      Leo. (R-XXV-26) She described Rudy as Appellant's right hand man and that they were

      inseparable. (R-XXV-27) She described Appellant as being the person of those individuals

      who was kind of in charge or the boss. (R-XXV-28) One time, Perez went to an apartment

      on Winkler and when she went in to buy drugs, she saw a body in the tub of the apartment.

      (R-XXV-30)     She noticed when she went into the apartment that stuff was scattered

      everywhere. (R-XXV-31) She remembered seeing the body bound with the hands tied

      behind his head and his feet were also bound and he was face down. (R-XXV-32) She

      identified the body as Saul. (R-XXV-33) She later told the police what she had seen. After

      seeing Saul's body in the tub, Perez changed and started going back to school. She

      subsequently saw Appellant and he told her not to say anything. (R-XXV-35)

             Johnny Lopez stated he was in a common law relationship with Lupita Marie

      Martinez. (R-XXV-42) After high school, Lopez went into the army for four years. (R-

      XXV-43) Lopez eventually got into drugs andended up going to jail. (R-XXV-44) In 1989,

      Lopez knew Saul Flores. (R-XXV-45) Lopez learned that Saul had died while Lopez was

      in jail. (R-XXV-46) State's Exhibit No. 122 was identified as a picture of Saul. (R-XXV-48)

      Lopez then identified Appellant in the courtroom. (R-XXV-49) Lopez said that his friend

      Saul would run away whenever he would see Appellant coming towards him. (R-XXV-51)

             During cross-examination, Lopez denied that he told the police in 1989 that he was

      actually running from "Shorty." (R-XXV-52) Appellant's counsel then questioned him about



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      the number of times he had met face to face with the prosecutors concerning this case. (R-

      XXV-54, 55) Appellant's counsel then questioned this witness about his criminal history.

      (R-XXV-55- 57)

             Carmelo Martinez Santana ("Rudy"), who had testified during the guilt phase of the

      trial, testified again on punishment. (R-XXV-60) Rudy again identified Appellant in court.

      (R-XXV-61) He testified about a previous incident when Appellant and Cesar tied him up.

      (R-XXV-61) Appellant and Cesar took Rudy and placed him in a bathtub because Appellant

      thought that Rudy was taking his drug customers away from him. (R-XXV-63) When Rudy

      produced money from his pocket he was released. (R-XXV-64) He testified that he was

      aware of other robberies or burglaries where masks were worn. (R-XXV-65) Rudy described

      a situation where Appellant and he went to an individual's apartment (Batiko) to break in.

      (R-XXV-66) State's Exhibit Nos. 126 and 127 were shown to Rudy. He identified them as

      Batiko' s apartment. (R-XXV-68) Rudy explained that Bory also known as Roger went along

      with Appellant. (R-XXV-69) The two came back to Rudy's car with drugs and money from

      the apartment. (R-XXV-70) When Appellant returned to the car, he stated that he had raped

      Batiko's woman and he had beaten Batiko up. (R-XXV-70) He went on to say that there

      were other times when apartments were robbed and burglarized. (R-XXV-71) Rudy

      described Saul Flores as an individual who worked with both of them selling drugs. (R-

      XXV-72) He stated that Appellant met Saul through another Mexican named "Shorty." (R-

      XXV-72) Rudy also described that at one point Saul had taken some drugs to Appellant's

      girlfriend's apartment. Appellant's girlfriend (Elizabeth) called Appellant and told him about



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      the factthat Saul was trying to court her and this made Appellant furious. (R-XXV-75) Rudy

      went to Elizabeth's apartment, along with Robert and the Appellant. (R-XXV-76) Saul was

      placed in the car and driven to an apartment complex on Winkler. (R-XXV-76) This was an

      apartment there that was used to sell drugs. (R-XXV-77) The group went upstairs into the

      apartment. (R-XXV-77) On the way to the apartment on Winkler, the group picked up

      another individual Richard. (R-XXV-78) Once inside the apartment, Appellant began

      beating Saul. (R-XXV-79) In addition to the beating they were giving Saul, he was also

      injected with drugs. (R-XXV-81) He then stated that Obel Cruz-Garcia broke Saul's neck.

      (R-XXV-82) Subsequently, Saul's body was moved and placed in the dumpster outside. (R-

      XXV-85) Rudy said the first time he told anybody about this was when he spoke with his

      attorney, Mr. Castro. (R-XXV-85)

             During cross-examination, Martinez denied reaching out to law enforcement in 2011

      to talk about this case. He stated that they appeared unannounced to discuss the matter with

      him. (R-XXV-87) When asked whether he had any pending cases against him, Martinez

      attempted to sidestep the question by saying he was just there to tell the truth. Martinez

      stated that the incident involving him had occurred prior to the incident involving the death

      of Angelo. (R-XXV-89) Martinez described himself as the getaway driver in the case

      involving Batiko. (R-XXV-90) He admitted that it was the same thing he did when baby

      Angelo was taken. (R-XXV-90) He acknowledged staying with Appellant even after the

      baby's case, even helping him to clean up the car that was used to transport the body. (R-

      XXV-91) He stated that he took Appellant to the airport and then resumed his drug business



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      himself. (R-XXV-91, 92)

             On re-direct examination, Martinez said that he had not been promised anything by

      the State to get him to testify against Appellant. (R-XXV-95)

             Dr. Dwayne Wolf, Deputy Chief Medical Examiner for Harris County, testified that

      the Saul Flores autopsy was performed July 1, 1989, Dr. Narula. (R-XXV-100) Dr. Wolf

      found that the injuries sustained by Saul Flores were consistent with ligature strangulation.

      He also described some contusions around the eyes. (R-XXV-108) Dr. Wolf testified that

      a toxicology test was performed and Saul Flores' body contained cocaine in his blood. (R-

      XXV-111)

             Micah Webb testified again at the punishment phase of this trial. (R-XXV-116)

      Webb, as part of his investigation in this case, went to the Harris County jail to speak with

      Carmelo Martinez Santana. (R-XXV-117) During the interview, Martinez provided new

      information to the investigator regarding an unrelated murder. (R-XXV-118)

             During cross-examination, Webb confirmed that Martinez had not been charged in any

      of the cases he testified to. (R-XXV-122)

             Darryl Novak with the Harris County Sheriffs Department testified that he was

      employed as a detention officer. (R-XXV-123) On September 23, 2012, this detention

      officer had interaction with Appellant. (R-XXV-126) He identified Appellant in court. (R-

      XXV-127) On September 23, 2012, Appellant was given a razor to use, one the day of the

      week when inmates received razors. (R-XXV-128) After the razors are used, they are

      collected as part of a count. (R-XXV-128) When this witness retrieved Appellant's razor he



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      noticed that it had been altered. (R-XXV-131) Appellant was brought up on disciplinary

      action of altering the razor. (R-XXV-13 3)

             David Davis, Jr., with the Harris County Sheriff's Department, testified that he was

      a jailer and a classification supervisor. (R-XXV-144) He testified that Appellant was booked

      into the Harris County Jail on February 12, 2010, and he was assigned as a high risk inmate

      and placed into administrative separation. (R-XXV-145) Davis described the restrictions

      placed on an individual in that type ofhousing arrangement. (R-XXV-146) This witness then

      testified that a razor blade is a prohibitive weapon in the penal institution. (R-XXV-14 7) He

      stated that if an individual chose to charge Appellant with something lesser than that it was

      basically an act of kindness on the part of the officer. (R-XXV-147)

             Bonnie Fiveash, testified that she classified inmates and offenders for statewide

      placement. (R-XXV-149) She testified that she had 21 years experience with the Texas

      Department of Criminal Justice, all of which was classifying offenders. (R-XXV-150) She

      testified that while her and her committee make an initial assignment and custody level of

      the offenders, once they reach a particular facility it depends on the behavior where that

      inmate goes from there. (R-XXV-151) She then testified regarding the general categories

      of G-1 through G-5 regarding general prison populations. (R-XXV-154) She stated that most

      inmates convicted of capital murder, and not sentenced death, start out as a G-3 inmate. (R-

      XXV-156) She stated that based on the information sheet, Appellant would be classified as

      a G-3 offender. (R-XXV-157) She testified that Appellant would be with other inmates as

      a G-3 offender. (R-XXV-159)



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             The State pointed out through this witness that Appellant could be housed with

      somebody in prison for a DWI 3rd, as well as a white collar theft case. (R-XXV-160) The

      State then elicited testimony from this witness regarding the ability of the Appellant to be in

      contact with other individuals, including employees ofthe prison system. (R-XXV-161) She

      also brought out that guards within the prison unit do not have weapons and they could be

      in the company of capital murderers and have no way to defend themselves. (R-XXV-166)

      The State made it a point to point out that inmates can buy Blue Bell ice cream while they

      are in prison. (R-XXV-169) The State also referenced a security officer at the Wynn Unit

      named Susan Canfield who was on horseback and when an escaped occurred and her horse

      was hit by a car causing Canefield to be killed. (R-XXV-174)

             During cross-examination, Appellant's counsel asked the obvious question which was

      "Have we left out any nightmare scenarios in this conversation?" to which the witness

      indicated, "No, sir." (R-XXV-178) She also acknowledged that in her opinion TDC was

      competent in handling inmates. (R-XXV-179) She did not indicate that she had a reason to

      think that there was anything "wack" in terms of the Texas Department of Criminal Justice's

      ability to deal with inmates. (R-XXV-179) She indicated that she would have a vote of

      confidence for other individuals who worked at TDC. (R-XXV-179) This witness also

      indicated what would happen to individuals who had disciplinary problems while in prison.

      (R-XXV-180, 181) Ultimately, the witness agreed that if an individual's conduct was bad

      enough they could be placed in individual segregated units away from everyone else. (R-

      XXV-182) Fiveash stated that TDC was not going to risk the safety of other offenders or



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      staff. (R-XXV-182) She also pointed out that if an individual attempted to escape he would

      be ordered to stop first and then the guards would shoot the individual. This also applied to

      individuals who worked in the field and that was why guards carry rifles on the horses. (R-

      XXV-183) This witness indicated that she was not trying to make any kind of admission to

      the jury that TDC just can't handle its business or can't handle the inmates. She indicated

      that she was not there to sway them either way. (R-XXV-186) When asked "I guess the fear

      from our standpoint might be that through your testimony, the jury is getting the impression

      that it's just too dangerous to send anybody to TDC." The witness said, "No, sir." Initially,

      when counsel commented that "These situations that - - these catastrophic situations that

      occur at TDC, even though they have occurred there, these are not the normal things that

      happen at TDC, are they?" To which the witness indicated, "No." (R-XXV-186)

             The State rested its case at punishment. (R-XXV-202)

             The first witness for Appellant, Mireya Perez-Garcia testified via Skype from the

      Dominican Republic. (R-XXVI-9) She testified thatshemetAppellantwhenshewas 15 and

      that after dating for several weeks she married him. (R-XXVI-12) She described how

      Appellant would fish with his father for a living at the time. (R-XXVI-13) Appellant left

      about six months after marrying this witness to go to Puerto Rico for a better life. (R-XXVI-

      13) She continued her relationship again with him in 1994 in Puerto Rico. (R-XXVI-13)

      Garcia and Appellant had a family in Rio Pedra, Puerto Rico. (R-XXVl-14) She stated that

      Appellant worked in real estate and was a very hard worker. (R-XXVl-15) She described

      him as sincere and noble and an impeccable person. She stated that he interacted with all of



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      the friends that he had from church. (R-XXVI-15) She described how as a member of the

      church, Appellant would go and do mission work with others at the church. (R-XXVI-16)

      Appellant and his wife owned their own home. (R-XXVI-17) She described Appellant as

      an excellent father because he wanted to be the best he could for his children. (R-XXVI-18)

      Appellant like to read his bible and especially read psalms. (R-XXVI-19)

             When this witness was asked whether she was aware that her son was in prison or not,

      she said "No, no, no." (R-XXVI-29) She stated that she did not know about his life at that

      time. (R-XXVI-29) This witness indicated that she was aware that Appellant had married

      a woman by the name of Dorka. (R-XXVI-29)

             Joel Cruz-Garcia, Appellant's brother, testified that his father suffered an injury which

      made him leave the military and become a fisherman. He said that the parents stayed

      together for 17 years and then his mother moved to Venezuela when Obel, the Appellant, was

      about 12 years of age. (R-XXVI-35) He described Appellant as a good brother who cared

      for him and they had a good relationship. (R-XXVI-36) He described his relationship with

      his brother over the years and gave an opinion that Appellant was a good father to his son.

      (R-XXVI-3 9) During cross-examination, he said that Appellant stayed with his wife Mireya

      for six months and left for Puerto Rico for a better life and when he left his wife was

      pregnant with their first child. (R-XXVI-44) Appellant's brother explained how Appellant

      came back to Puerto Rico and had a relationship with Angelita. He also testified that later

      he resumed his relationship with his first wife Mireya. He also testified that Appellant who

      left Mireya again and then established a relationship with Dorka. (R-XXVI-49)



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             Appellant called Abel Cruz-Perez. (R-XXVI-66) He testified that Appellant was his

      father. He also stated that he was married and had a little girl of his own. (R-XXVI-68) This

      witness described the relationship he had with his father and the type of work that his father

      did when he was younger. (R-XXVl-69-70) Abel described the house where they grew up

      and the relationship he had with his father and how he helped build a church in town. (R-

      XXVI-73)

             Angel Meza testified that he and Appellant met while in jail. (R-XXVI-81) This

      witness stated that he was a trustee at the jail and would feed Appellant when he was in lock

      down. (R-XXVI-82) When he would visit Appellant in the jail, Appellant was talking about

      his bible. (R-XXVI-83) This witness would have face to face contact for about two months

      with Appellant during which time he described Appellant as a man of God. He stated that

      Appellant tried to help him in every possible way he could. (R-XXVI-85)

             During cross-examination, the witness recognized that there was a difference between

      someone talking a good game versus having lived and made choices. (R-XXVI-87) He

      agreed that was a pretty important distinction. (R-XXVI-87)

             While the jury was deliberating , a juror sent out a note to speak with the Judge

      privately.(R-XXVII-3) The trial court discussed Ms. Bowman's matter in chambers without

      other parties present. (R-XXVII-4, 5, 6) The juror expressed concern about reaching an

      agreement, stating that she was at a different opinion and that she was not changing her

      stance on that. (R-XXVIl-6) The court indicated that she needed to keep deliberating. The

      jury returned a verdict which resulted in the assessment of the death penalty. (R-XXVII-11)



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             The trial court sentenced Appellant to death. (R-XXVIII-4)

                                POINT OF ERROR NUMBER ONE

      THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT'S MOTION TO
      SUPPRESS THE STATE'S DNA EVIDENCE WHERE THE STATE FAILED TO
      ESTABLISH A PROPER CHAIN OF CUSTODY DUE TO THE INVOLVEMENT
      OF THE HOUSTON POLICE DEPARTMENT CRIME LAB WHICH WAS SHUT
      DOWN AND WIDELY CRITICIZED IN THE REPORT OF INDEPENDENT
      INVESTIGATOR MICHAEL R. BROMWICH COMMISSIONED TO REVIEW AND
      EVALUATE THE HOUSTON POLICE DEPARTMENT CRIME LABORATORY
      AND PROPERTY ROOM (CR-111-454)

                                      STATEMENT OF FACTS

             Prior to trial, Appellant filed a Motion to Suppress Results of all DNA Testing. (CR-

      111-454) The Motion, in part, stated that Appellant was anticipating that the State would seek

      to introduce evidence that the Appellant's DNA was found at the scene ofthe alleged crime -

      specifically from physical evidence recovered from a witness who claimed to have been

      sexually assaulted and from a cigar allegedly found at the scene ofthe alleged sexual assault.

      The DNA evidence was submitted to the former, now defunct, HPD Crime Lab for

      processing. The Motion went on to state that this same evidence was later submitted to other

      labs for testing and the State would seek to offer the results of such testing. Appellant

      pointed out that various investigations and reports had been generated over the years as to

      the incompetence of the employees and former, now defunct, HPD Crime Lab itself which

      led to its complete closing. These investigations included the time period that the DNA

      evidence in this case was handled by the now defunct HPD Crime Lab. The investigations

      found rampant false test results, mishandling of evidence, improper police procedure,

      misconduct, criminal activity, and incompetence. Appellant asserted thathe would be denied


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      a fair trial and Due Process if any evidence was admitted at his trial that was stored and I or

      processed by the former, now defunct, HPD Crime Lab. (CR-III-454,455)

             A hearing was held on the Motion to Suppress. (R-XVI-17) When the trial court

      inquired as to the scope of the Motion to Suppress, Appellant's counsel noted that: 1). Some

      of the people that handled the evidence in this case were severely criticized as a result of the

      Houston Police Department Crime Lab Investigation; 2). Although the State had the evidence

      re-examined by an independent lab, he had no confidence in the HPD Crime Lab, and 3).

      Specific evidence consisting of a pair of panties and a cigar from which a DNA profile were

      determined or handled by the HPD Crime lab for latter cuttings or swabs were items

      produced by the HPD Crime Lab or sent to Orchid Cellmark for analysis. (R-XVI-16)

      Appellant urged the trial court to suppress all the DNA results because the HPD Crime Lab

      had been completely closed, and therefore, the court should not have any confidence in any

      items transferred from that now-closed lab to anywhere else for fear of contamination. (R-

      XVI-18) Appellant further argued that no evidence even handled by the HPD Crime Lab

      should be trusted for evaluation, even by an independent crime lab - this would include

      testimony from Orchid Cellmark. (R-XVI-18) The trial court admitted Defense Exhibits 2

      through 9 into evidence on the Motion to Suppress. (R-XVI-21) These exhibits included

      reports from the Bromwich Report and the Houston Police Department Crime Lab

      Investigation. (R-XVI-21) The State responded that it had followed the recommendations of

      the Bromwich Report and had the evidence sent out to an independent lab to do its own

      testing. The prosecutor argued that the lab didn't have a sample of Appellant's DNA



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      [because he was in Puerto Rico] and therefore contamination could not have occurred. (R-

      XVI-22)

             Physical evidence, consisting of cuttings from a pair of panties, was recovered by

      Gloria Kologinczok, a nurse at St. Joseph's Hospital when she performed a sexual assault

      examination on Diana Garcia on October 1, 1992. (R-XVI-25) This evidence was stored at

      the Houston Police Department Crime Laboratory until 2007, when it was retrieved by HPD

      Cold Case Investigator, Eric Mehl. (R-XVI-30,32,35) Mehl testified thathe did not open the

      evidence envelope which contained the cuttings, but rather re-packaged it and sent it to

      Orchid Cellmark for analysis. (R-XVI-35) A cigar which had been recovered at Diana

      Garcia's residence on October 1, 1992, also remained in storage at the Houston Police

      Department Property Room until its retrieval by Mehl in 2007. (R-XVI-30) Mehl testified

      that by the date a sample of Appellant's DNA was obtained, all the biological evidence had

      already been in Orchid Cellmark's possession. (R-XVI-38)

             During cross examination, Mehl acknowledged items extracted from Diana Garcia

      had, in fact, been stored by the Houston Police Department Crime Lab, including blood and

      a cutting from her panties. (R-XVI-43 ,44) Mehl further admitted that at some point the rape

      kit would have gone through the Crime Lab. (R-XVI-44)

             Matt Quartaro from Orchid Cellmark confirmed that HPD sent DNA extractions

      taken in this case to Orchid Cellmark. He testified Orchid took its own cutting from

      the panties which had been through the Houston Police Department Crime Lab. (R-

      XVI-51) On May 28, 2008, Orchid obtained a full DNA profile from Appellant. Quartaro



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      testified that profile of Appellant matched the profile from the sperm fraction of the panties

      and the cigar. (R-XVI-59) Quartaro confirmed that there had been active testing of the

      evidence by the HPD Crime Lab. (R-XVI-68) He went on to note that even if two people

      had come into contact with the cigar, it was possible that only a DNA profile from one

      person would be obtained. He also confirmed that there was no way to establish when a

      sperm cell would have been deposited - only whose DNA it was. (R-XVI-72,73)

             Courtney Head from the Houston Police Department Crime Laboratory testified that

      there was a letter indicating that in 1992 extractions from the evidence of the vaginal swab

      in the crotch panties were sent to Genetic Design Lab. (R-XVI-85) There was no testimony

      from officials at Genetic Design Lab regarding the evidence. Courtney admitted that

      she knew Joseph Chew (HPD Crime Lab) and confirmed that Chew had obtained a

      hair sample from Appellant on October 7, 1992. (R-XVI-86) Chew did not testify. She

      also stated that another Crime Lab analyst (B. Sharma) performed an analysis on the

      rape kit on October 28, 1992 and found the male fraction of the DNA sample was too

      degraded to form any conclusions. Sharma did not testify. (R-XVI-87) Head testified

      that Appellant could not be excluded as contributor to the DNA on the cigar or the sperm

      fraction from the panties. (R-XVI-92) During cross examination, Head again admitted

      that biological evidence, including a vaginal swab from the crotch of the panties and

      blood from various individuals had been handled by the Houston Police Department

      Crime Laboratory. (R-XVI-95)

             The trial court denied Appellant's Motion to Suppress. (R-XVII-5,6) (CR-III-



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      456) The court ruled that evidence extracted by the old HPD Crime lab would not be

      admitted, but that testing performed by Orchid Cellmark on those items would be. (R-XVII-

      8) The court precluded Appellant from presenting the Bromwich Report to the jury- finding

      the report had nothing specific about this case. The court also prevented Appellant from

      impeaching HPD Crime Lab analysts Joseph Chew or B. Sharma because they were not

      going to testify. (R-XVII-14,1517,18) Appellant was also prevented from mentioning the

      closure of the Houston Police Department Crime Lab. (R-XVII-22,23,24)

             Throughout the course ofthe trial, Appellant relied on his pre-trial Motion to Suppress

      to address physical and testimonial evidence offered by the State. Appellant also relied upon

      his pre-trial Motion to Suppress when he would lodge additional objections concerning the

      admissibility of DNA evidence. The Motion to Suppress and those additional objections are

      grouped together under this Point of Error pursuant to Rule 38.1 (f) and (i) of the Texas

      Rules of Appellate Procedure to avoid the unnecessary repetition of arguments in support

      of the issues or points presented for review. In addition to the record made during the pre-

      trial Motion to Suppress, the following matters are included under this Point of Error:

             A       Appellant was instructed that he was not allowed to cross examine Detective
                     Eric Mehl concerning the Houston Police Department Crime Lab (R-XX-59)

             B       The trial court ruled that in order to not leave a wrong impression on the jury,
                     Appellant would be allowed to question the officer about the fact that the
                     Crime Lab did process DNA, but he was not allowed to go into any details
                     about the Crime Lab. (R-XX-62,63)

             C       The trial court specifically noted for the record that the prosecutor left the
                     impression with the jury that DNA was not even thought about in 1992 in
                     general, much less this case, and it was submitted to the HPD Crime Lab for
                     DNA analysis. (R-XX-66)

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             D       Appellant's counsel again reurged his request to go into a more deep
                     evaluation of Genetic Design and the HPD Crime Lab studies which was
                     denied by the trial court. (R-XX-66)

             E       During FBI Agent Griselle Guzman's testimony, Appellant objected to the
                     introduction of State's Exhibits 65 and 66 [buccal swabs taken from
                     Appellant] noting that the basis for his objection was covered by his Motion
                     to Suppress - he otherwise had no further objections. (R-XX-77)

             F       Appellant objected to the introduction of State's Exhibit# 33 [sexual assault
                     kit results] and State's Exhibit# 95 [cutting of panties] reiterating the issues
                     that were previously stated and made reference to a breach in the chain of
                     custody of the items. (R-XXI-123)

             G       Over Appellant's objections, the trial court admitted State's Exhibits 95, 33,
                     33A, 33B, 33C and 33D [panties from the sexual assault kit, the vaginal
                     swabs, and smears from the sexual assault kit, and saliva samples of Diana
                     Garcia and the blood sample of Diana Garcia] (R-XXI-124)

             H       The trial court reiterated that certain questions were allowed and others would
                     not be permitted. Specifically, the trial court stated it would not allow in the
                     results of the Houston Crime Lab or any testing that was done by the HPD
                     Crime Lab. (R-XXI-125-127)

             I       Over Appellant's objections, the trial court admitted State's Exhibit# 70 - the
                     report from Courtney Head with the Houston Police Department Crime Lab
                     regarding her DNA analysis in this case. (R-XXI-152)

             J       State's Exhibits# 76 and 77 [buccal swabs collected from Appellant] were
                     admittedwhenAppellantcommented"noadditionalobjections".(R-XXI-157)

             K       State's Exhibit# 92 [DNA statistics] State's Exhibit# 96 [DNA summary on
                     cigar] and State's Exhibit# 97 [DNA summary on vaginal swabs] were all
                     admitted over Appellant's objections.

             L       The trial court prevented Appellant from cross examining Head concerning
                     quality control that existed on other things when they ran by the crime lab. (R-
                     XXI-173)




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                               ARGUMENT AND AUTHORITIES

             The Fourteenth Amendment to the Constitution of the United States provides that

      no State shall deprive any person oflife, liberty, or property, without due process oflaw.

             As noted above, Appellant's Motion to Suppress contained several sub-parts which

      are addressed herein, beginning with the Chain of Custody Issue.

                                    Chain of Custody Objections

             In the instant "Cold Case" appeal, the State of Texas prosecuted Appellant in 2013

      for a crime alleged to have occurred in 1992. Evidence, consisting of cuttings from a pair

      of women's panties, a vaginal swab and a cigar, was tested for the presence of biological

      evidence to be compared with people who may have been associated with the evidence.

      Appellant's counsel urged the trial court to suppress the evidence because, among other

      reasons, there was no showing of a proper and adequate chain of custody. (R-XXI-123)

      Several issues came into play as Appellant sought to exclude evidence allegedly connecting

      Appellant to the crime scene from September 30, 1992, including [1] the fact that the

      Houston Police Department Crime Lab processed evidence recovered from the crime

      scene - sexual assault kit from Diana Garcia; a hair sample from Appellant; DNA extractions

      from Diana Garcia and Arturo Rodriguez [2] Genetic Design which processed some of the

      evidence was no longer in business and there was no evidence offered to explain what had

      been done to the evidence while in the possession of the company. The State was allowed

      to use evidence which had not been shown to have been maintained in a proper and adequate

      chain of custody. Chain of custody complaints are generally viewed as going to the weight,



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      not the admissibility, of the evidence. Norris v. State, 507 SW2d 796 (Tex. Crim. App.

      1974) In the instant appeal, Appellant submits that the trial court abused its discretion in

      allowing the DNA evidence to be admitted at trial. Montgomery v. State, 810 SW2d 372

      (Tex. Crim. App. 1990) The amendments to the Code of Criminal Procedure relating to

      post-conviction DNA testing are instructive. Article 64.03 provides that the trial must find

      that the evidence "has been subjected to a chain of custody sufficient to establish that it has

      not been substituted, tampered with, replaced, or altered in any material respect". Appellant

      submits that the stringent prerequisite set forth under 64.03 should apply with equal force to

      the State of Texas when it relies upon 21 year-old biological evidence in the prosecution of

      a capital murder case. The State provided no proof concerning what had happened to the

      biological evidence sent to Genetic Design. Likewise, the State failed to offer any proof

      establishing a proper chain of custody of the evidence while in the possession ofthe Houston

      Crime Lab and Property Room. Numerous individuals, including detective Mehl, had access

      to, and handled, the evidence without being able to provide any meaningful information

      regarding the chain of custody. A complete chain of custody must be maintained in order to

      ensure that biological evidence was collected and preserved properly. Routier v. State, 273

      SW3d 241 (Tex. Crim. App. 2008) Appellant's efforts to introduce numerous documents

      concerning the Crime Lab fiasco (Def. Ex' s 2-19) is intertwined with this chain of custody

      issue. The second Bromwich Report (5/31/2005) (Def. Ex. 2) noted that it is already clear,

      however, that the circumstances that led to the troubling crisis of confidence in the Crime

      Lab are complex and deeply rooted in the history of the Crime Lab and HPD as a whole over



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      the past two decades. (R-XVI-21)(R-XXXI-15) The third Bromwich Report (613012005)

      Def. Ex. 3) addressed the storage room at the HPD Property Room where high temperatures

      and high humidity created problems. The Bromwich Report also noted that the chain of

      custody forms were cumbersome and archaic and increased the chances of errors and risk of

      misplaced evidence. R-XVI-2l)(R-XXXI-59)              Appellant submits that there was a

      insurmountable gap in the chain of custody - so much so that the admission of the evidence

      violated Appellant's right to due process. The trial court simply excised the HPD Crime Lab

      out of the evidentiary equation in this case. In light of the fact that Mr. Chu at the HPD

      Crime Lab had Appellant's hair sample from 1992 and the HPD lab did testing on the panties

      before sending them off to other labs, Appellant submits the trial court erred in not granting

      his Motion to Suppress. The question remains: What happened to all the DNA evidence

      during the 15 years it was in HPD' s custody?

             This Court has stated that a trial court has great discretion in the admission of

      evidence at trial, and although the evidentiary rules do not specifically address proper chain

      of custody, they do state that identification for admissibility purposes is satisfied if the

      evidence is sufficient to support a finding that the matter in question is what its proponent

      claims. Absent evidence of tampering or other fraud, problems in the chain of custody do

      not affect the admissibility of evidence. Instead, such problems affect the weight that the fact

      finder should give the evidence, which may be brought out and argued by the parties.

      Druery v. State. 225 SW3d 491 (Tex. Crim. App. 2007) Unfortunately, in the instant case,

      the trial court did not allow the very evidence needed to raise the question of chain of custody



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      in a meaningful way. Therefore, Appellant had no evidence to bring to the attention of the

      jury to argue that point. The trial court abused its discretion in admitting the DNA evidence,

      comparisons and testimony based thereon. Appellant was denied a meaningful opportunity

      to present a complete defense for the jury's consideration in violation of the Sixth

      Amendment.. Holmes v. South Carolina, 476 U.S. 1 (2006)

                                POINT OF ERROR NUMBER TWO

      THE TRIAL COURT ERRED IN DENYING APPELLANT THE RIGHT TO
      CONFRONT AND CROSS EXAMINE HIS ACCUSERS AND THUS THE
      OPPORTUNITY TO PRESENT A DEFENSE BASED IN PART ON EVIDENCE
      CRITICAL OF THE HOUSTON POLICE DEPARTMENT CRIME LAB AND
      PROPERTY ROOM DURING HIS MOTION TO SUPPRESS AND AT TRIAL (CR-
      III-454-456)(R-XXXI-DX2/3/4)R-XVI-21);(R-XXXII-DX5/6)(R-XVl-21);(R-XXXIII-
      DX6)(R-XVI-21);(R-XXXIV-DX7-19)(R-XVI-21)

                                      STATEMENT OF FACTS

             Pursuant to Rule 38.1 (f) & (i) of the Texas Rules of Appellate Procedure and to

      avoid repetition, Appellant again incorporates the entirety of the preceding Point of Error for

      this Court's consideration of this Point of Error.

             During the Motion to Suppress hearing, and subsequently throughout the trial,

      Appellant sought to introduce evidence concerning the Houston Police Department Crime

      Lab and Property Room which were shuttered and closed in the wake of a crime lab scandal

      which first came to light when a Houston television station (KHOU) uncovered wrongdoing.

      Appellant presented significant documentary evidence in the form of independent reports

      which were extremely critical of the HPD Crime Lab to the trial court. (R-XVI-21)

      Appellant complained that the trial court was denying him the right to confront and cross



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      examine his accusers in violation of the Sixth Amendment and his right to a fair trial with

      Due Process. (CR-III-455) In addition to the record made during the pre-trial Motion to

      Suppress, the following matters are again included under this Point of Error:

             A       Appellant was instructed that he was not allowed to cross examine Detective
                     Eric Mehl concerning the Houston Police Department Crime Lab (R-:XX-59)

             B       The trial court ruled that in order to not leave a wrong impression on the jury,
                     Appellant would be allowed to question the officer about the fact that the
                     Crime Lab did process DNA, but he was not allowed to go into any details
                     about the Crime Lab. (R-XX-62,63)

             C       The trial court specifically noted for the record that the prosecutor left the
                     impression with the jury that DNA was not even thought about in 1992 in
                     general, much less this case, and it was submitted to the HPD Crime Lab for
                     DNA analysis. (R-XX-66)

             D       Appellant's counsel again reurged his request to go into a more deep
                     evaluation of Genetic Design and the HPD Crime Lab studies which was
                     denied by the trial court. (R-XX-66)

             E       During FBI Agent Griselle Guzman's testimony, Appellant objected to the
                     introduction of State's Exhibits 65 and 66 [buccal swabs taken from
                     Appellant] noting that the basis for his objection was covered by his Motion
                     to Suppress - he otherwise had no further objections. (R-XX-77)

             F       Appellant objected to the introduction of State's Exhibit# 33 [sexual assault
                     kit results] and State's Exhibit# 95 [cutting of panties] reiterating the issues
                     that were previously stated and made reference to a breach in the chain of
                     custody of the items. (R-XXI-123)

             G       Over Appellant's objections, the trial court admitted State's Exhibits 95, 33,
                     33A, 33B, 33C and 33D [panties from the sexual assault kit, the vaginal
                     swabs, and smears from the sexual assault kit, and saliva samples of Diana
                     Garcia and the blood sample of Diana Garcia] (R-XXI-124)

             H       The trial court reiterated that certain questions were allowed and others would
                     not be permitted. Specifically, the trial court stated it would not allow in the
                     results of the Houston Crime Lab or any testing that was done by the HPD
                     Crime Lab. (R-XXI-125-127)


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                I      Over Appellant's objections, the trial court admitted State's Exhibit# 70 - the
                       report from Courtney Head with the Houston Police Department Crime Lab
                       regarding her DNA analysis in this case. (R-XXI-152)

                J      State's Exhibits# 76 and 77 [buccal swabs collected from Appellant] were
                       admitted when Appellant commented "no additional objections". (R-XXI-157)

                K      State's Exhibit # 92 [DNA statistics] State's Exhibit# 96 [DNA summary on
                       cigar] and State's Exhibit# 97 [DNA summary on vaginal swabs] were all
                       admitted over Appellant's objections.

                L      The trial court prevented Appellant from cross examining Head concerning
                       quality control that existed on other things when they ran by the crime lab. (R-
                       XXI-173)

                                       THE BROMWICH REPORT

                Michael R. Bromwich was appointed to conduct an independent investigation of the

      Houston Police Department Crime Lab and Property Room stemming from the KHOU

      report.       A sampling of the comments from the various stages of Mr. Bromwich's

      investigation is included to acquaint this Court with the problems Appellant sought to

      introduce before the jury in this trial.

                In the Second Report on the HPD Crime Lab, dated May 31, 2005, Bromwich's

      mandate was to conduct a comprehensive and independent investigation of the crime lab. It

      was noted that the problems with the HPD Crime lab first surfaced in 2002, based on a

      KHOU T.V. report. Shortly thereafter, profound deficiencies were found in the operations

      section. As a result, HPD suspended DNA analysis by the crime lab. (R-XXXI-DX2)(R-

      XVI-21) Bromwich concluded that it is already clear, however, that the circumstances that

      led to the troubling crisis of confidence in the Crime Lab are complex and deeply rooted in

      the history of the Crime Lab and HPD as a whole over the past two decades. (R-XXXI-


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      DX2)(R-XVI-21) In the Third Report, dated June 30, 2005, issues were made of the factthat

      high temperatures and high humidity were problems in the HPD Property Room, and the

      chain of custody of custody forms are cumbersome and archaic increasing the chances of

      errors and risk of misplaced evidence. (R-XXXI-DX3)(R-XVI-21) In his Fourth report,

      dated January 4, 2006, Bromwich stated that the review of serology and DNA analysis has

      shown a near total breakdown in the forensic science foundation in those sections for

      at least a 15 year period from 1987-2002. There was a pervasive pattern involving

      repeated failures to report results on scientific testing, including results that were

      exculpatory; general failure to use appropriate scientific controls to ensure reliability of

      reported results. (R-XXXI-DX4)(R-XVI-21) In the Fifth Report, there was a disturbing

      revelation about a Harris County capital murder case. In referencing the capital murder case

      against Derrick Leon Jackson, the report noted that DNA analysts in many cases tended

      toward reporting only those results that, from their perspective, were "safe" in the sense that

      they were consistent with other evidence in the case or with the investigators' expectations.

      (R-XXXII-DX5)(R-XVI-21) Appellant submits that the existence of this form of"evidence

      shaping" should have been available for the jury to consider in evaluating the integrity and

      veracity of the evidence. The Final Report, dated June 13, 2007, included a portion pointing

      out that contamination of a victim's (DNA) reference sample should have been a pristine

      single-source, yet the victim's reference sample was contaminated at some point in time in

      the handling of the sample. (R-XXXII-DX6)(R-XVI-21) These are but a few of the

      examples uncovered in Bromwich's Independent Investigation of the HPD Crime Lab.

      Additional documentation was offered by Appellant all in support ofhis Motion to Suppress

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      Evidence, including HPD Internal Affairs Investigations; City ofHouston internal complaints

      and memos. The trial court refused to allow Appellant to use or make reference to any of

      these matters during trial (CR-III-456)(R-XVII-5,6,14)

                                 ARGUMENT AND AUTHORITIES

             Rule 61l(b) of the Texas Rules of Evidence, regarding the scope of cross

      examination, provides that a witness may be cross-examined on any matter relevant to the

      issue in the case, including credibility. Rule 6ll(b) differs from the federal rule which limits

      cross examination to the scope of direct examination.

             The Sixth Amendment guarantees Appellant the right of confrontation and cross

      examination. The Fourteenth Amendment guarantees Due Process to the accused.

                            LIMITATION OF CROSS EXAMINATION

             In the instant case, Appellant was denied a full and fair opportunity to cross examine

      the State's witnesses on critically important issues pertaining to DNA scientific evidence.

      Appellant was prohibited from inquiring into the very areas he needed to educate the jury

      about the validity of the scientific evidence relied upon by the State. Appellant was not

      permitted to inquire about any matters relating to the HPD Crime Lab, including quality

      controls or methodology. The Confrontation Clause of the Sixth Amendment, applicable to

      the states by virtue of the Fourteenth Amendment, guarantees the right of the accused to

      be confronted by the witnesses against him. The primary interest secured by the

      Confrontation Clause is the right of cross examination. Douglas v. Alabama, 380 U.S. 415

      (1965) Cross examination is the cornerstone of the criminal trial process and, as such, a



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      defendant must be given wide latitude. Love v. State, 861 SW2d 899 (Tex. Crim. App.

      1993) In the instant case, Appellant was specifically provided with "Brady" material by the

      State, but then denied the opportunity to use that very information during his cross

      examination of the State's witnesses. In addition to the denial of his right to confront and

      cross examine these witnesses, Appellant was denied the opportunity to present a complete

      and meaningful defense. Holmes v. South Carolina, 476 U.S. 1 (2006)

                         EXCLUSION OF EXCULPATORY EVIDENCE

             The State provided Appellant with a "Brady Notice" which included references to the

      Bromwich Report. (CR-II-447) Appellant's counsel sought to introduce this exculpatory

      evidence before the jury, but the trial court denied Appellant's proffer. Before evidence is

      admissible, it must be relevant. Evidence is relevant within the meaning of Rule 401 of the

      Texas Rules of Evidence if it has any tendency to make the existence of any fact that is of

      consequence to the determination of the action more probable or less probable than it would

      be without the evidence. In determining whether evidence is relevant, courts look to the

      purpose for offering the evidence and whether there is a direct or logical connection between

      the offered evidence and the proposition sought to be proved. So long as there is any logical

      nexus, the evidence will pass the relevancy test. Furthermore, evidence merely tending to

      affect the probability of the truth or falsity of a fact in issue is logically relevant. Evidence

      is relevant even if it only provides a small nudge in proving or disproving a fact of

      consequence to the trial. Reed v. State, 59 SW3d 278 (Tex. App. - Fort Worth, 2001)

             Appellant was faced with 16 year-old DNA evidence which began its journey into



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      the courtroom at the Houston Police Department Crime Lab and Property Room. Custody of

      the DNA evidence then went elsewhere (Genetic Design) before returning. The independent

      investigation of the HPD facilities was documented in The Bromwich Report which , along

      with other documentary evidence, Appellant sought to introduce into evidence as part of his

      defense. Defense Exhibits 2-9 were excluded from evidence and were never viewed or

      considered by the jury when it passed on the integrity and validity of the State's DNA

      evidence used to connect Appellant to this capital murder case. The exclusion of this

      evidence amounted to a violation of Appellant's right to compel the attendance of witnesses

      in his favor. Potier v. State, 68 SW3d 657 (Tex. Crim. App. 2002)

             The trial court erred when it denied Appellant the opportunity to present affirmative

      exculpatory evidence [Bromwich Report, etc.] in support of his defense. Whether rooted

      directly in the Due Process Clause of the Fourteenth Amendment or in the Compulsory

      Process or Confrontation Clause of the Sixth Amendment, the Constitution guarantees

      criminal defendants "a meaningful opportunity to present a complete defense" Holmes v.

      South Carolina, 547 U.S. (2006); Ray v. State, 178 SW3d 833 (Tex. Crim. App. 2005)

      Appellant submits that he was not afforded these constitutional protections during his trial.

                            POINT OF ERROR NUMBER THREE

      THE EVIDENCE IS INSUFFICIENT AS A MATTER OF LAW TO SUSTAIN
      APPELLANT'S    CONVICTION FOR THE OFFENSE OF CAPITAL
      MURDER (CR-l-2)(CR-III-484-507)(CR-III-530)

                                    STATEMENT OF FACTS

             The Statement of Facts appearing at the beginning of this brief, along with those


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      appearing below, will be used in conjunction with this Point of Error.

              Appellant was charged with the offense of capital murder in the death of Angelo

      Garcia, Jr. The indictment contained two paragraphs alleging that Appellant, while in the

      course of committing or attempting to commit the kidnapping of Angelo Garcia, Jr.,

      intentionally caused the death of Angelo Garcia, Jr., by: [1] stabbing Angelo Garcia, Jr., with

      a deadly weapon, namely a sharp instrument, and [2] an unknown manner and means. (CR-I-

      2)

              The jury charge included a "parties" charge, naming Rogelio Aviles and/or Carmelo

      Martinez-Santana, as possible actors. (CR-III-484-507) The jury was instructed on the

      lesser-included offenses of murder and aggravated kidnapping. (CR-III-484-507) Appellant

      was found guilty of capital murder as charged in the indictment. (CR-III-506)

              The State's witnesses contradicted themselves, and each other, concerning significant

      issues relied upon by the State to secure a conviction for capital murder in this case.

              Identity became an issue from the outset when the first responding officer put out a

      description of two black males. There were no additional comments that the individuals the

      police would be looking for were Hispanic or from the Carribean. (R-XVIII-55) This issue

      was compounded when homicide officer C.E. Elliott confirmed that police were looking for

      two black males, but then tried to explain away the conflict (Appellant is not Black) by

      claiming thatthe descriptions were a result of "cultural" differences. (R-XVIII-10 I) Elliott

      finally admitted during cross examination that he never put any information in his offense

      report reflecting about the cultural issue - he did not modify the description of the alleged

      assailants to include any other race or ethnicity. (R-XVIII-105) Elliott confirmed that Diana

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      Garcia did not get a good look at the individuals she claimed assaulted her and Arturo

      Rodriguez. (R-XVIII-118) Sufficiency Issues: The witnesses specifically stated two

      black males were the perpetrators. Although the police could have given more detailed

      descriptors in the offense report, they did not - two black males were always the

      suspects. Arturo Rodriguez told police the man spoke like a black man.

             The truthfulness of Diana Garcia was immediately cast into doubt when she lied to

      responding officers about her drug dealing from her residence. (R-XVIII-166) This fact was

      obvious the officer Elliott who initially interviewed her about the facts ofthe case. (R-XVIII-

      109) Elliott stated he knew Garcia was not being truthful with him. (R-XVIIl-109) It was

      only later that Garcia would admit that she, and Arturo Rodriguez, made a living selling

      cocaine. (R-XVIII-143) In fact, Garcia later admitted that she knew Arturo Rodriguez (with

      whom she was having an affair) was involved in cocaine and she became involved in drug

      dealing with him. (R-XVIII-126, 128) Garcia acknowledged that her drug dealing took place

      at their first residence on Winfrey, as well as the Fairway address. (R-XVIII-130) Garcia

      testified that Appellant was a frequent visitor at their apartment (two times a week) and had

      been there earlier in the day on September 30, 1992. (R-XVIII-138,145,179,184) Garcia

      knew of no reason why Appellant would be mad at her or Arturo Rodriguez. (R-XVIII-

      179) Garcia claimed that she saw a second man in the doorway of her bedroom, but she was

      unable to identify him. (R-XVIII-156) She could not say whether the second man was black,

      brown or white. (R-XVIII-182) Garcia could notidentifywhotiedherup. (R-XVIII-153)

      Sufficiency Issue: Garcia lied to the police about her involvement as a drug dealer. Her



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      claim that Appellant was at her apartment weekly, and earlier on that day, provides an

      alternate explanation for the presence of the cigar. As noted during final argument, her

      story about an armed man wearing a mask coming in with a cigar doesn't make sense.

      Additionally, the presence of spermatozoa, while it may prove sexual contact, doesn't

      prove sexual assault. The SANE nurse verified that Garcia sustained no physical

      injuries. Although Garcia personally knew Appellant, she did not allude to him by

      description, or otherwise, as her "attacker".

             According to officer Elliott, Arturo Rodriguez lied to the police about his drug

      dealing. (R-XVIII-109) Garcia tried to contradict that impression by claiming that he had

      always told the police that he was involved in drugs. (R-XIX-21,24) Although Rodriguez

      told the jury the previous day that he had sold drugs for three years, he tried to claim it was

      only two years when cross examined. (R-XIX-6) Rodriguez then stated that he sold drugs

      for four years. (R-XIX-6) Rodriguez stated that he and Diana Garcia sold drugs just to have

      a better life. (R-XVIII-198) Rodriguez described his relationship with Appellant as friendly

      and a business relationship. He said he never had any problems with Appellant. (R-XVIII-

      201,204) Rodriguez was contradicted by Garcia concerning several issues: Garcia said her

      son, Angelo, was aware of what was taking place , while Rodriguez said Angelo was not

      aware at all. (R-XVIII-155) (R-XVIII-215); Garcia admitted the .25 handgun was hers.,

      while Rodriguez tried to claim it may have belonged to the assailants.(R-XVIII-191 )(R-XIX-

      9); Garcia claimed that Rodriguez went unconscious, but Rodriguez claimed he had been hit

      in the head three times and never lost consciousness. (R-XVIII-159)(R-XIX-3). Although

      Garcia testified that Appellant came to their residence during the afternoon of September 30,

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      1992, Rodriguez denied having seen Appellant earlier that day. (R-XVIII-184)(R-XIX-11)

      Rodriguez claimed he could not remember if he had an argument that same day at a store

      with a tall black man and a Hispanic male. (R-XIX-11,12) Rodriguez said he saw the person

      who was raping his wife, but he did not know who it was. (R-XIX-15) Sufficiency Issues:

      This witness lied to the police about being a drug dealer, then tried telling the jury he

      had been honest with the police and admitted his involvement with drugs. His

      testimony was contradicted by Garcia's testimony about how the events allegedly took

      place. Rodriguez never had a problem with Appellant and did not offer any reason

      why Appellant would steal drugs or money from them or take Angelo, Jr. or sexually

      assault Diana Garcia. He didn't recall seeing Appellant at the apartment earlier in the

      day as his wife testified. Curiously, when he was asked if Appellant and Garcia ever

      dated, he paused before stating - not that I know of. Recalling that Rodriguez described

      the intruders as black, it is questionable that he could not remember if he had an

      argument at a store with a tall black man and a Hispanic male earlier that same day.

             SANE nurse, Gloria Kologinczok, who performed a sexual assault examination on

      Gloria Garcia, found no evidence of physical injury or trauma to Garcia. (R-XIX-48)

      Sufficiency Issue: No medical verification that a sexual assault occurred.

             HPD officer U .P. Hernandez interviewed Arturo Rodriguez. Hernandez contradicted

      the earlier testimony from Rodriguez when he claimed he had been honest with police about

      his drug dealing. (R-XIX-24,72,72)     Hernandez acknowledged that this was a huge

      inconsistency between his testimony and that of Diana Garcia ,who eventually did admit to



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      being a drug dealer. (R-XIX-98) In fact, Hernandez documented in his offense report that

      Rodriguez denied being involved with drugs at all. (R-XIX-101) Sufficiency Issue: The

      police found Rodriguez to be untruthful with them during the investigation.

             Dr. Dwayne Wolf, the deputy chief medical examiner for Harris County, Texas, could

      not state how Angelo Garcia, Jr. died. (R-XX-20) Dr. Wolf admitted that he had no medical

      records establishing Garcia's earlier health history. He could not even say whether Garcia

      had drowned. (R-XX-20) Wolf ruled Garcia's death a homicide based not on medical

      findings, but rather the investigator's report of what had allegedly transpired. (R-XX-24,31)

      The State simply did not establish the cause of death through verifiable medical evidence.

      Sufficiency Issue: No proof to establish either of the allegations in the indictment

      concerning how Angelo Garcia, Jr. supposedly died.

             Eric Mehl, a retired HPD officer, testified that in 2007, he initiated a "cold case" file

      in this matter. (R-XX-43) Mehl testified on direct examination that he never even thought

      of using DNA technology to solve a crime over at HPD back in 1992. (R-XX-40) The trial

      court found that the prosecutor had left the impression with the jury that DNA was not even

      thought about in 1992 in general, much less this case, and it was submitted to the HPD Crime

      Lab for analysis. (R-XX-66) Mehl then admitted that in 1992, HPD did have a crime lab

      that was processing evidence for DNA. He further admitted that in this very case, items were

      submitted to the HPD Crime Lab for processing of DNA. (R-XX-67) Sufficiency Issue:

      Mehl did not offer concrete testimony regarding the previous collection, storage or

      transportation of the biological evidence relating to the HPD Crime Lab prior to him

      sending it to Orchid Cellmark.

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             Angelita Rodriguez, Appellant's ex-wife, testified that when she went to bed on the

      evening of September 30. 1992, Appellant was at home. She testified he was also home

      when she woke up the next morning. (R-XX-101,102(R-XX-92) Appellant and Rodriguez

      had a fight months before and they no longer shared the same bedroom. (R-XX-102) The

      next morning Appellant told Rodriguez he was leaving her and going to Puerto Rico - never

      to return to Houston. (R-XX-99) When Rodriguez went after Appellant, she claimed that he

      simply confessed that he had killed Angelo Garcia, Jr. (R-XX-107) Incredibly, Rodriguez

      said she did not remember what else he said. (R-XX-107) Rodriguez conveniently claimed

      that she was scared when defense investigators approached her in 2012 for an interview -

      stating that's why she forgot to mention that Appellant had confessed to her. (R-XX-112)

      Sufficiency Issues: Appellant's ex-wife had reason to despise Appellant for his infidelity

      and for leaving her to go to Puerto Rico. Her specific memory that in 1992 Appellant

      only confessed to killing Angelo Garcia, Jr. and nothing more, is questionable at best.

      She conveniently forgot to tell defense investigators this "fact" when interviewed.

             Carmelo Martinez Santana "Rudy", the cousin of Angelita Rodriguez was serving a

      seventeen year federal prison sentence in Pennsylvania for drugs and weapons, when he had

      a visit from the FBI. (R-XX-119) Santana stated that he was not personally aware of a

      romantic relationship between Appellant and Diana Garcia. He testified that Appellant did

      not hide the fact that he was unfaithful to Santana's cousin [Appellant's wife]. (R-XX-134)

      Santana claimed that he accompanied Appellant and "Roger" to Garcia's apartment where

      the other two went in wearing masks. (R-XX-143) Santana went on to share details of what

      Appellant allegedly said when he exited the apartment and got back in the car - claiming that

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      a young boy accompanied Appellant and Roger. Santana was careful to posture himself as

      an unwitting passenger while telling the jury he was so upset by what was happening, that

      he defecated. (R-XX-150) This detail ,which Santana used to exemplify how horrified he

      was, escaped him when he told his story to FBI Agent Ebersol at the federal prison. (R-XXI-

      69) Additional impeachment of Santana included his claim that he had never been to

      Baytown before that night, but was able to provide precise directions how to get there.

      Santana denied selling drugs in Baytown as well. (R-XXI-37,38) This recollection, along

      with his remembrance of how many tires blew out on their car when leaving Baytown, was

      contradicted by the testimony of FBI Agent Ebersol. (R-XXI-69, 70, 75) Santana's claim that

      they stayed up all night doing drugs was contradicted again by Agent Ebersol who stated that

      Santana claimed that when he and Appellant returned to Humble, Appellant went to sleep

      with Angelita. (R-XXI-40,77) Throughout cross examination, Santana attempted to avoid

      answering the question about him not being charged with anything as a result of his

      involvement, by saying he just wanted to tell the truth and that he had no "deal" with the

      State to give his testimony. (R-XXI-12,15,16) Santana told the jury that he believed that

      Rogelio was actually the person responsible for killing Angelo Garcia, Jr. (R-XXI-57) FBI

      Agent Ebersol would later tell the jury that Santana acknowledged that the boy went off with

      Rogelio and that he recalled Appellant actually being at the front of the car. (R-XXI-71-74)

      Sufficiency Issues: Serving a seventeen year federal prison sentence, this witness was

      contradicted by FBI Agent Ebersol on critical points of his testimony against Appellant.

      He wanted the jury to believe that he had no deal to provide testimony and just wanted



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      to tell the truth. Santana believes Rogelio "Bory" killed Angelo Garcia, Jr. No evidence

      that Appellant caused the death of Angelo Garcia, Jr.

             Linda Hernandez knew Santana "Rudy" through Bienviendo Melo "Charlie". She

      described how her own mother didn't trust Rudy. She was especially bothered by the fact

      that Rudy always wanted to take her son to the store with him. She never allowed this to

      happen. (R-XIX-173) Sufficiency Issue: Hernandez provides insight into Santana's bad

      character and his interest in being alone with her young son. This further discredits

      Santana's testimony.

             The State's DNA evidence offered through Matt Quattaro from Orchid Forensics

      could not exclude Appellant as a possible contributor to the DNA found on a cigar found at

      Diana Garcia's apartment and as a major contributor to a mixture found on a cutting from a

      pair of underwear worn by Garcia. (R-XXl-112-119) Quattaro admitted during cross

      examination that he had no personal knowledge concerning what, if any, quality controls

      existed at other labs (HPD Crime lab) where the evidence had been previously stored for over

      15 years. (R-XXl-130) He acknowledged that prior to receiving the evidence from the HPD

      Crime Lab, he did not know how it was collected or how or where it was stored - there were

      no notations concerning previous quality control, (R-XXI-134, 141) Quartaro certainly could

      not specify that the presence of spermatozoa was a result of consensual sex or assault. (R-

      XXl-134) Courtney Head (HPD Crime Lab) who served as a "reviewer", testified that

      Appellant could not be excluded as a contributor on the evidence (cigar, vaginal swab and

      cutting from the panties) (R-XXI-161,162) On cross examination, Head admitted that she

      was only a "reviewer" and because she had not performed any testing, her work was not

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      subject to quality control or technical review. (R-XXI-172) Sufficiency Issues: State did not

      establish a proper chain of custody of all the biological evidence in this case. Defense

      evidence was never permitted which would have allowed the jury to consider and

      decide, what part, if any, the HPD Crime Lab played in this case.

               INSUFFICIENT EVIDENCE TO PROVE APPELLANT'S GUILT

             The jury was instructed that it could not convict appellant of capital murder unless it

      found each and every element of the offense charged beyond a reasonable doubt and if the

      State failed to do so, it must acquit the defendant [Appellant]. (CR- 111-503)

                                ARGUMENT AND AUTHORITIES

             Section 19.03(2) of the Texas Penal Code, provides that a person commits an offense

      if the person commits murder as defined under Section 19.0l(b)(l) and the person

      intentionally commits the murder in the course of committing or attempting to commit

      kidnapping. The State is obligated to prove beyond a reasonable doubt that Appellant had

      the specific intent to cause the death of Angelo Garcia, Jr.

             The burden of proof is on the State to establish beyond a reasonable doubt that

      Appellant committed the offense alleged. Hightower v. State, 389 SW2d 674 (Tex. Crim.

      App. 1965); McCullen v. State, 372 SW2d 693 (Tex. Crim. App. 1964) This burden of

      proof is on the State to prove each and every element of the offense beyond a reasonable

      doubt. Mullaney v. Wilbur, 421 US 684 (1975) In re Winship, 397 US 358 (1970)

             In Texas criminal jurisprudence, the concept of"legal sufficiency" of the evidence is

      based upon the law of due process. See: Gollihar v. State, 46 SW3d 243 (Tex. Crim.



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      App.2001) citing Jn re Winship, 397 U.S. 358, where the court expressed it as follows: We

      expressly hold that the Due Process Clause protects the accused against conviction except

      upon proof beyond a reasonable doubt of every fact necessary to constitute the crime with

      which he is charged.

             Sufficiency of the evidence is measured by the standard enunciated by the United

      States Supreme Court in Jackson v. Virginia, 443 US 307 (1979): whether, after viewing

      the evidence in the light most favorable to the prosecution, any rational trier of fact could

      have found the essential elements of the crime beyond a reasonable doubt.

             In Brooks v. State, 323 SW3d 893 (Tex .Crim. App. 2010) this Court held there is

      no meaningful distinction between a Clewis v. State, 922 SW2d 126 (Tex. Crim. App.

      1996) factual sufficiency standard and a Jackson v. Virginia, 443 U.S. 307 (1979) legal

      sufficiency standard. This Court announced that the Jackson v. Virginia legal-sufficiency

      standard is the only standard that a reviewing court should apply in determining whether the

      evidence is sufficient to support each element of a criminal offense that the State is required

      to prove beyond a reasonable doubt. The court noted that it bears emphasizing that a

      rigorous and proper application of the Jackson v. Virginia legal-sufficiency standard is as

      exacting a standard as any factual-sufficiency standard (especially one that is "barely

      distinguishable" or indistinguishable from a Jackson v. Virginia legal-sufficiency standard).

      Reversal and acquittal are required under this standard of review, if, after considering all the

      evidence the jury's finding of guilt is not a rational finding.

              In her concurring opinion in Brooks, Judge Cochran noted that the Jackson Court



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       stated the correct standard must incorporate the prosecution's burden of proof - beyond a

       reasonable doubt - in a due-process review. The court noted that a reasonable doubt has

       often been described as one based on reason which arises from the evidence oflack thereof.

       A reasonable doubt might arise because the verdict is manifestly against the great weight

       and preponderance of the credible evidence or because there is nothing more than a mere

       scintilla of evidence to support some element of the offense. Judge Cochran, cited Black's

       Law Dictionary, which states that legal sufficiency ofthe evidence is a test of adequacy, not

       mere quantity. Sufficient evidence is "such evidence, in character, weight, or amount, as will

       legally justify the judicial or official action demanded." Judge Cochran went on to state that

       in criminal cases, only that evidence which is sufficient in character, weight, and amount

       to justify a fact finder in concluding that every element of the offense has been proven

       beyond a reasonable doubt is adequate to support a conviction. After giving proper

       deference to the role of the trier of fact, an appellate court must uphold the verdict unless

       a rational fact finder must have had a reasonable doubt as to any essential element. Laster

       v. State, 275 SW3d at 518, citing Narvaiz v. State, 840 SW2d 415 (Tex. Crim. App.

       1992)

               The complete record in this case fails to establish beyond a reasonable doubt that

       Appellant intentionally and knowingly caused the death of Angelo Garcia, Jr. as alleged in

       the indictment. There is no proof in the record to establish that Angelo Garcia, Jr. came to

       his death as alleged in the indictment.

               In the absence ofproof beyond a reasonable doubt that Appellant was responsible for



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       the death of Angelo Garcia, Jr., a conviction for the offense of capital murder cannot

       withstand appellate review and the entry of a judgment of acquittal by the reviewing court.

       The evidence offered by the State's witnesses did not enhance the weight or sufficiency of

       the evidence on this issue. Viewing the evidence in the light most favorable to the verdict,

       the appellate court determines whether any rational trier of fact could have found the

       essential elements of the offense beyond a reasonable doubt.

              An appellate court must always address challenges to the sufficiency ofthe evidence.

       Garza v. State, 715 SW2d 642 (Tex. Crim. App.) Such a review must be conducted when

       a legal sufficiency challenge is raised, even if the conviction must be reversed on other

       grounds, because a finding that the evidence is legally insufficient to support the conviction

       prevents a retrial under the double jeopardy clause of the Fifth Amendment. Hudson v.

       U.S., 522 U.S. 93 (1977) If this Court finds that the verdict is contrary to the evidence

       presented at trial, this Court can reverse the conviction and enter a judgment of acquittal.

       Texas Code of Criminal Procedure, Art. 44.25; Texas Rules of Appellate procedure

       43.2(c).

              Whether viewed individually, or collectively, the issues addressed in this Point of

       Error require reversal based on legally insufficient evidence. Appellant submits that this

       result will be reached after the Court conducts a rigorous and proper application of Jackson

       and Brooks. The jury's verdict was not based on a rational review of the evidence. Winn

       v. State, 871 SW2d 756 (Tex. App. - Corpus Christi 1993)

              Appellant submits that even though a jury is charged with the responsibility of

       determining the credibility of witnesses and the weight to be given their testimony, in this

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       case, as a matter of Due-Process, this appellate court should find that the verdict is not right

       or just, and therefore it cannot stand. Appellant submits that when this Court conducts its

       Due-Process review of the sufficiency ofthe evidence to support the conviction, even when

       viewing the evidence in the light most favorable to the verdict, it must find that no rational

       trier of fact could have found the essential elements of the crime of capital murder in this

       case beyond a reasonable doubt. Stobaugh v. State, 02-11-00157-CR (Tex. App. - Fort

       Worth, January 23, 2014) citing: Jackson v. Virginia.

              Where the evidence is insufficient to sustain a conviction on appeal, double jeopardy

       bars a retrial. Burks v. United States, 437 U.S. 1, 98 S.Ct. 2141, 57 L.Ed.2d 1 (1978);

       Greene v. Massey, 437 U.S. 19, 98 S.Ct. 2151, 57 L.Ed.2d 15 (1978).

                                 POINT OF ERROR NUMBER FOUR

       THE TRIAL COURT ERRED WHEN IT ALLOWED THE STATE TO
       INTRODUCE EVIDENCE OF AN EXTRANEOUS OFFENSE [POSSESSION OF A
       CONTROLLED SUBSTANCE] BY PERMITTING THE STATE SHOW THAT
       APPELLANT FAILED TO APPEAR FOR A COURT SETTING ON OCTOBER 8,
       1992 ON AN UNRELATED FELONY CHARGE AND THAT HIS BOND WAS
       FORFEITED ON THAT CHARGE ALL TO SHOW FLIGHT ON THE PART OF
       APPELLANT AT HIS CAPITAL MURDER TRIAL EVEN THOUGH THERE WAS
       NO CHARGE OF CAPITAL MURDER FILED AGAINST APPELLANT UNTIL
       2008. (R-XIX-111,113,115,119,122-124,126,128,129,141,142)

                                        STATEMENT OF FACTS

              During the guilt I innocence phase of the trial, the State sought to introduce evidence

       showing that on October 8, 1992, Appellant failed to appear for a court setting on an

       unrelated felony drug charge which was pending in the 337th District Court of Harris

       County, Texas. (R-XIX-105-120) Appellant's bond was forfeited on this unrelated case in

       the 337th District Court of Harris County, Texas. (R-XIX-111123,124,126) The State

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       theorized that this evidence established "flight" on the part of Appellant, and was therefore

       relevant to Appellant's charge of capital murder. (R-XIX-120)

              Appellant objected to the introduction of this extraneous offense as violating Rule

       404(b). (R-XIX-119,124,125,126,128,129,141) Appellant also made a 403 objection that

       the extraneous offense was not relevant and that any probative value was outweighed by its

       prejudice to Appellant. (R-XIX-122,124,129) The trial court found that the proffered

       evidence constituted an extraneous offense - "So, it's still an extraneous offense. I think

       it is still prejudicial and it was an unproven offense in that it was still only a charged

       offense. He was not convicted of it or anything." (R-XIX-115) The prosecutor conceded

       this fact as well - "It's clearly an extraneous offense, which is what 404(h) is for, and it

       creates exceptions outside of character coriformity. " (R-XIX-120)

              The trial court ordered that the docket sheet be redacted to remove any reference to

       the actual felony charge pending against Appellant from 1992. (R-XIX- 123, 124). The trial

       court also ordered that the FBI Agent who was testifying when the documents were

       admitted, could not mention the existence of a federal flight to avoid prosecution warrant

       issued after Appellant failed to appear in the 337th District Court on October 8,1992. The

       documents admitted for the jury's consideration still contained the printed designation

       "337th" atthe top of the docket sheet. (R-XIX-123,124,126)(SX #36)(R-XXX-42) Despite

       the trial court's effort to conceal that fact, the jury, realizing that Appellant's capital murder

       case was in the 337th District Court, could easily conclude that the offense Appellant bond

       forfeited on was a felony. (R-XXX-42)(SX #36) FBI Agent Eric Johnson was then allowed



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       to discuss the contents of State's Exhibit #36 before the jury, explaining that Appellant

       failed to appear in court on October 8, 1992 to answer an un-related pending drug charge.

       (R-XIX-141,142)

                                 ARGUMENT AND AUTHORITIES

              Rule 404(b) of the Texas Rules of Evidence provides that: "evidence of other

       crimes, wrongs or acts is not admissible to prove the character of a person in order to show

       action in conformity therewith. It may, however, be admissible for other purposes, such as

       proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

       mistake or accident.. ... " "Flight" is not listed in Rule 404(b) as an exception to the rule

       prohibiting the admission of extraneous offenses during the State's case-in-chief.

              The State argued that evidence of Appellant's failure to appear for an unrelated drug

       charge in 1992 was relevant to show "flight" on the part of Appellant regarding the capital

       murder case on trial. It is critically important to understand the juxtaposition of the 1992

       drug charge and the 2008 capital murder charge. When Appellant did not appear in 1992

       at his court setting in the 337th District Court (where he was charged with possession of a

       controlled substance) there were no pending charges against Appellant for capital murder

       or aggravated kidnapping. When Appellant did not appear in the 337th District Court on

       October 8, 1992, his bond was forfeited and a new bond was set by the court in the amount

       of only$10,000.00. (SX# 36)(R-XXX-42). Appellant was not charged with capital murder

       until September 5,2008. (CR-1-4)

              In Cantrell v. State, 731 SW2d 84 (Tex. Crim. App. 1987) this Court held that the



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       forfeiture of an accused's bail bond may be proved as tending to show flight. (emphasis

       added) Appellant submits on appeal, as he did in the trial court below, that there is a critical

       distinction between showing an individual bond-forfeited on the very case he is being tried

       for, versus showing an individual bond-forfeited on an unrelated charge, especially where

       the charge for which that person is on trial did not exist at the time of the bond forfeiture -

       and in fact did not exist until 16 years later [1992 to 2008]. In Cantrell, this Court went on

       to note that the general rule in all English speaking jurisdictions is that an accused person

       is entitled to be tried on the accusation made in the State's pleading and not on some

       collateral crime, or for being a criminal generally. The admission of court documents from

       the 1992 case pending in the 337th District Court clearly constituted evidence of a prohibited

       extraneous offense.

              Extraneous transactions must be analyzed for relevance within the context ofthe facts

       and circumstances of the individual case in order to determine admissibility. Cantrell,

       citing: Brandley v. State, 691 SW2d 699 (Tex. Crim. App. 1985) In the instant appeal,

       Appellant had not been adjudicated on the 1992 drug charge when he went to Puerto Rico.

       Angelita Rodriguez testified that Appellant left for Puerto Rico shortly after the

       disappearance of Angelo Garcia, Jr. - her testimony on this point made evidence of the

       extraneous offense completely irrelevant.        This Court has long held that to support

       admission of evidence of flight it must appear that the flight has some legal relevance to the

       offense under prosecution. Hicks v. State, 199 SW 487 (Tex. Crim. App. 1917) The

       reasoning from this Court's opinion in Damron v. State, 125 SW 396 (Tex. Crim. App.



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       1910) is instructive: Evidence of flight is admissible, where one is charged with an offense,

       on the ground, in substance that it is some evidence of guilt, and amounts to a quasi

       admission of guilt of the offense charged. If, however, the flight is in respect to another and

       different offense, it ought not be considered as evidence of the guilt of an offense in which

       there was no flight. Appellant submits the trial court erred in admitting evidence of the

       1992 extraneous offense and bond forfeiture in his capital murder trial.

                                 POINT OF ERROR NUMBER FIVE

       THE TRAIL COURT ERRED WHEN OVER APPELLANT'S OBJECTION IT
       ADMITTED THE EXTRANEOUS OFFENSE EVIDENCE [SET FORTH IN THE
       PREVIOUS POINT OF ERROR] BECAUSE UNDER RULE 403 OF THE TEXAS
       RULES OF EVIDENCE ITS PROBATIVE VALUE, IF ANY, WAS OUTWEIGHED
       BY THE PREJUDICIAL EFFECT OF ITS ADMISSION DURING APPELLANT'S
       CAPITAL MURDER TRIAL.(R-XIX-111,113,115,119,122-124,125,126-
       128,129,141,142)

                                       STATEMENT OF FACTS

               The Statement of Facts appearing in the previous Point of Error are re-incorporated

       for consideration under this Point of error

                                 ARGUMENT AND AUTHORITIES

               Rule 402 of the Texas Rules of Evidence provides, in part, that evidence which is

       not relevant is inadmissible. Rule 403 states that although relevant, evidence may be

       excluded if its probative value is substantially outweighed by the danger of unfair

       prejudice ...

               The trial court was obviously concerned, and rightfully so, that the admission of the

       extraneous offense was prejudicial to Appellant. The trial court, in deciding whether to



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       admit the evidence noted: "Because at this point still we may have testimony from the

       complainants that he was involved in drugs. We don't have any admission from the

       defendant that he was involved in drugs. So, it's still an extraneous offense. I think it is still

      prejudicial and it was an unproven offense in that it was still only a charged offense. He

      was not convicted of it or anything." (R-XIX-115)               The prejudice to Appellant is

       underscored by the fact that the State had another witness [Angelita Rodriguez] who could

       testify that Appellant went Puerto Rico shortly after Angelo Garcia, Jr. went missing, but

       without referencing the extraneous offense which the State of Texas fought to have admitted

       before the jury under the theory that it constituted "flight" by Appellant. (R-XIX-11 7)

              Where an appellant objects based on Rule 403, that the probative value of the

       evidence is substantially outweighed by the danger of unfair prejudice ..... the trial court has

       no discretion as to whether or not to engage in the balancing process. Mozon v. State, 991

       SW2d 841 (Tex. Crim. App. 1999) Probative value refers to the inherent probative force

       of an item of evidence - that is, how strongly it serves to make more or less probable the

       existence of a fact of consequence to the litigation - coupled with the proponent's need for

       that item of evidence. Casey v. State, 215 SW3d 870 (Tex. Crim. App. 2007) In the

       instant appeal, the trial court's initial comments regarding the prejudicial effect of the

       extraneous offense evidence (R-XIX-115) were compounded, not cured, by determining

       the amount of information the jury learned. The probative value [which Appellant asserts

       was non-existent] was clearly outweighed by the admission ofthe extraneous offense which

       sought to establish that Appellant left Harris County, Texas shortly after Angelo Garcia, Jr.



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       went missing - a fact subject to alternative proof not spotlighting an extraneous offense.

              Appellant submits that he is entitled to relief under both Points of Error addressing

       the admission of evidence of an the extraneous offense.

                                  POINT OF ERROR NUMBER SIX

       THE TRIAL COURT ERRED WHEN IT PROHIBITED APPELLANT FROM
       INTRODUCING MITIGATING EVIDENCE INCLUDING BIBLE STUDY
       CERTIFICATES DURING THE PUNISHMENT PHASE OF THE TRIAL THUS
       PREVENTING APPELLANT FROM PRESENTING A COMPLETE DEFENSE (R-
       XXVI-55-58)(R-XXXIV-DX48-55)

                                       STATEMENT OF FACTS

              During the punishment phase of the trial, Appellant sought to introduce Bible

       certificates he had earned while incarcerated in a Puerto Rican prison. (R-XXVI-55-58)(R-

       XXXIV-DX48-55) These certificates were offered as mitigating evidence for the jury's

       consideration of the Special Issues they were called upon to answer. The State objected that

       the Bible certificates constituted hearsay. (R-XXVI-58) Appellant's counsel urged the trial

       court to admit the Bible certificates because there was no suggestion that they were not

       Appellant's certificates and, given that it was the punishment phase of a capital murder trial,

       the court should view it as a question of weight, not admissibility. (R-XXVI-57) The trial

       court found the Bible certificates to be relevant, but excluded them on hearsay grounds. (R-

       XXVI-58)

                                 ARGUMENT AND AUTHORITIES

              Article 37.071 of the Texas Code of Criminal Procedure requires the jury to

       answer Special Issues at the conclusion of the punishment phase of a capital murder trial

       where the death penalty is in issue. Article 37.071 instructs the jury that in deliberating on

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       the issues submitted ...... .it shall consider all evidence admitted at the guilt or innocence

       stage and the punishment stage, including evidence of the defendant's background or

       character or the circumstances of the offense that militates for or mitigates against the

       imposition of the death penalty. Concerning "mitigation", the jury is asked: Whether,

       taking into consideration all of the evidence, including the circumstances of the offense,

       the defendant's character and background, and the personal moral culpability of the

       defendant there is a sufficient mitigating circumstance or circumstances to warrant

       that a sentence of life imprisonment........ be imposed. The jury is further charged that it

       shall consider mitigating evidence to be evidence that a juror might regard as reducing

       the defendant's moral blameworthiness.

              In the instant appeal, Appellant sought to introduce mitigating evidence in the form

       of Bible certificates. Rule 102 of the Texas Rules of Evidence -Purpose & Construction

       states: These rules shall be construed to secure fairness in administration, elimination of

       unjustifiable expense and delay, and promotion of growth and development of the law of

       evidence to the end that the truth may be ascertained and proceedings justly determined.

       Appellant submits that the Bible certificates were admissible under the following Rules:

       Rule 803(11) - the Bible certificates contained facts relating to Appellant's personal or

       family history maintained by the religious organization providing spiritual guidance to

       incarcerated individuals ; Rule 803(13) - the Bible certificates also provided a statement of

       fact concerning Appellant's personal or family history even if not "contained" in any

       particular format.    Rule 803(19) - Appellant's brother was aware of his brother's



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      involvement in Bible classes which formed part of Appellant's reputation concerning

      personal or family history. The Bible certificates could also have been admitted pursuant

      to Rule 804(3) as statements of personal or family history.

              The State's hearsay objection should have been overruled. The State would have

      been free to address the weight and credibility of the Bible certificates before the jury

      pursuant to Rule 104(e) The exclusion of the Bible certificates preventing Appellant from

       giving meaningful context to the testimony of Angel Meza. Meza was a trustee at the Harris

      County Jail while Appellant was awaiting trial on this capital murder charge. Appellant

      would meet with Meza and talk about his Bible. Meza described Appellant as a "Man of

       God" who tried to help him in every way he could. (R-XXVI-81-85) In the absence of the

      Bible certificates showing that Appellant was immersed in religious study after 1992, but

      before being charged with capital murder, the jury had no meaningful way to consider the

       limited testimony of Meza as a mitigating factor.          Appellant submits that the Bible

       certificates were improperly excluded in violation of the Eighth and Fourteenth

       Amendments by preventing him from presenting mitigation evidence as recognized in

       Skipper v. South Carolina, 476 U.S. 1 (1986) The Eighth and Fourteenth Amendments

       require that the sentencer not be precluded from considering, as a mitigating factor, any

       aspect of the defendant's character or record ........ that the defendant proffers as a basis for

       a sentence less than death. Lockett v. Ohio, 438 U.S. 586 (1978) Appellant further urges

       this Court to find that in the instant case the hearsay rule (if found to apply) must yield,

       because the State had no sufficient basis for doubting the reliability of the hearsay and it



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       could have aided the jury in its determination of a material issue. Chambers v. Mississippi,

       410 U.S. 284 (1972) In disallowing the introduction of the Bible certificates, especially in

       light ofMeza's testimony, the trial court violated Appellant's Sixth Amendment by not

       affording him a "meaningful opportunity to present a complete defense". Holmes v. South

       Carolina, 547 U.S. 319 (2006)

                               POINT OF ERROR NUMBER SEVEN

       THE TRIAL COURT ERRED WHEN IT PREVENTED APPELLANT FROM
       INTRODUCING MITIGATING EVIDENCE THAT HE WAS AN INFORMANT
       FOR THE FBI, DEA OR INS (R-XXIV-70-74)

                                       STATEMENT OF FACTS

              The State presented testimony from Agent Juan DeJesus Rodriguez (hereinafter

       Agent DeJesus) with the Police of Puerto Rico. (R-XXI-44) After testifying about an

       investigation he conducted which involved Appellant as a suspect in the kidnapping of

       Andres Buten and William Garay. (R-XXIV-46) The details of the investigation are set

       forth in the Statement of Facts in this Brief.

              At the commencement of his cross examination of Agent DeJesus, Appellant's

       counsel asked the witness about his knowledge of Appellant's role as an informant for the

       FBI, DEA or INS. (R-XXIV-69) The State objected that the this evidence was irrelevant.

       (R-XXIV-69) The trial court called the parties to the bench and stated: Does it have to do

       with the fact that - - - I can see some relevance, but not getting into anything that he is not

       supposed to get into. (R-XXIV-69) The trial court conducted a hearing into the matter

       outside the presence of the jury. (R-XXIV-70,71)



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             Mr.C:         Okay. Did you have a conversation with my client after he was in
                           custody wherein he informed you that he was some sort of informant
                           for either the FBI, the DEA, or INS?

             DeJesus:      Yes.

             Mr.C:         And did you attempt to confirm whether that was true or not?

             DeJesus:      Yes.

             Mr.C:         Were you able to confirm that it was true?

             DeJesus:      The agents said that he cooperated with the agency, but it was never
                           confirmed in writing.

             Mr.C:          So, it was confirmed, but you didn't get anything in writing?

             DeJesus:      Yes.

             Mr.C:         Was the defendant claiming that he was acting in this capacity when
                           these events occurred for which he got convicted in Puerto Rico?

             DeJesus:      Yes.

             Mr.C:          But that was never confirmed to you; is that what you're saying?

             DeJesus:      No.

              Mr.C:         Not orally or in writing, or was it confirmed orally but not in writing?

             DeJesus:       Orally that he had cooperated with them, but not in writing.

              Mr.C:         Okay. Let me see if I can be certain of this. Orally that he had
                            cooperated - - - strike that. Orally that - - - somebody from the United
                            States government confirmed that he was cooperating with them
                            during the course of these events for which he was arrested and got
                            convicted or just that he cooperated with them in the past?

              DeJesus:      That he had cooperated previously.

              The State renewed its objection that the testimony was irrelevant hearsay.


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                The trial court asked: Do you find it mitigating in any way? We're here for

       punishment. Is that mitigation punishment - - - is that mitigation evidence?

                Although the trial court found that the evidence may be relevant to mitigation in

       some form or fashion in this case, it sustained the State's objection on the basis that the

       proffered evidence was hearsay. (R-XXIV-71-74)

                                   ARGUMENT AND AUTHORITIES

                In addition to the Argument and Authorities supplied below, Appellant incorporates

       the Argument and Authorities relied upon in the previous Point of Error for this Court's

       consideration of this Point of Error pursuant to Rule 38.l(f) & (i) of the Texas Rules of

       Appellate Procedure to avoid duplication and repetition of argument.

                Rule 803(21) of the Texas Rules of Evidence allows for testimony concerning

       reputation of a person's character among associates or in the community. This Court has

       held that discussions with other police officers are sufficient to qualify a witness on

       reputation. Turner v. State, 810 SW2d 423 (Tex. Crim. App. 1991) citing: Martin v.

       State, 449 SW2d 257 (Tex. Crim. App. 1970) Reputation must at least partially based on

       a discussion of matters other than the actions or offenses for which the defendant is being

       tried.

                The trial court clearly recognized that Appellant's proffered evidence was mitigating.

       (R-XXIV-71-74)

                Appellant submits that the relationship between fellow law enforcement officials

       cooperating in an investigation establishes the reliability of the information needed to


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       overcome any concern the State might have concerning the reliability of that very

       information. The confirmation provided to Agent DeJesus in the instant appeal is not the

       sort of information that would be disseminated to others outside the law enforcement

       community. Keeping in mind that this evidence was offered during the punishment phase

       of Appellant's death penalty trial, the trial court's refusal to admit this evidence was, at the

       very least, an abuse of discretion. Appellant submits that prohibiting Agent DeJesus from

       testifying that he had confirmed Appellant's role as a law enforcement informer violated the

       Sixth, Eighth and Fourteenth Amendments by preventing Appellant from presenting

       mitigation evidence to the jury tasked with answering the Special Issues presented to it in

       accordance with Article 37.071. As noted in the preceding Point of Error, Appellant again

       relies upon the Supreme Court's holdings in Lockett v. Ohio; Chambers v. Mississippi;

       and Holmes v. South Carolina to show he was not afforded a "meaningful opportunity to

       present a complete defense.

                                POINT OF ERROR NUMBER EIGHT

       THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT'S
       OBJECTION TO THE PROSECUTOR'S IMPROPER ARGUMENT INJECTING
       FACTS OUTSIDE THE RECORD (R-XXIII-80)

                                       STATEMENT OF FACTS

              During her final summation to the jury, the prosecutor assailed Appellant's defense

       by claiming that it had only given" half truths" when presenting its case. (R-XXIII-80)

              The prosecutor stated: "I'm responsible for the whole story and you hold me

       accountable. I will tell you the whole story. And I'm not going to leave out and talk about


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       half ofwhat a witness said and not talk about the whole thing, I promise you that. That's

       my job. Let me give you another example, another example of halfthe story. The SANE

       nurse. She came here and she said: Well, there were no injuries. Wow, that must mean

       Obel Cruz-Garcia is guilty- is not guilty of capital murder according to the defense

       attorneys. No. Let's talk about what else the SANE nurse said. And I want to say she said

       95% ----- it is a very high percentage- of rape cases that she does SANE nurse

       examinations on- "(R-XXIII-80)

              Appellant objected that the prosecutor's argument was outside the record. (R-XXIII-

       80)The trial court overruled Appellant's objection. (R-XXIII-80)

                                ARGUMENT AND AUTHORITIES

              Permissible jury argument falls into one of four areas. Cannady v. State, 11 SW3d

       205 (Tex. Crim. App. 2000) The four areas of proper argument are:

              1.     Summation of the evidence;

              2.     Reasonable deduction from the evidence;

              3.     An answer to the argument of opposing counsel; or

              4.     A plea for law enforcement.

              In the instant appeal, the prosecutor's comments fell outside the permissible scope

       of final argument set out above. The Prosecutor's comments were outside the record and

       amounted to unswom testimony being provided to the jury. The testimony of the SANE

       nurse was critically important to the State's case because she was the individual who began

       the evidentiary chain of custody of by performing a sexual assault examination on Diana



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       Garcia. The evidence, including all results of testing on items taken by the SANE nurse,

      were contested throughout trial. The State obviously felt compelled to try and dispel any

       doubt created by the absence of "injuries" found by the SANE nurse when she examined

       Garcia. In asserting that 95% of the SANE examinations do not reveal injuries, the

      prosecutor misstated the testimony and went outside the record. The SANE nurse actually

       stated that: "I mean, it doesn't have to be physical injury or bruising or anything to say that

       there was a sexual assault. I mean, that doesn't mean that there's not going to be some

       assault. I mean, the crime lab will analyze the evidence that I have collected otherwise."

       When asked if it was common for her not to find physical injury or trauma in the

       examinations that she performs, Kologinczok stated that most of the sexual assault exams

       that she performed didn't find bruising or other injuries. She did not further quantify her

       response. (R-XIX-49) Appellant submits that the State's comments fell outside the accepted

       scope of final argument. Cannady v. State, 11 SW3d 205 (Tex. Crim. App. 2000);

       Garrison v. State, 528 SW2d 837 (Tex. Crim. App. 1975)

                                 POINT OF ERROR NUMBER NINE

       THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT'S
       OBJECTION TO THE PROSECUTOR'S IMPROPER ARGUMENT ASKING THE
       JURY TO CONVICT APPELLANT OF CAPITAL MURDER AS A PARTY
       BECAUSE THAT WAS WHAT THE STATE BELIEVED ACTUALLY HAPPENED
       - THAT APPELLANT DIRECTED AND ENCOURAGED. (R-XXIII-92)

                                       STATEMENT OF FACTS

              During her continuing summation to the jury, the Prosecutor discussed all the

       different ways the jury could find Appellant guilty of capital murder as set forth in the



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       court's jury charge. The Prosecutor then stated that what "we" believe happened is the

       defendant directed and encouraged. (R-XXIII-92) The trial court overruled Appellant's

       objection that this argument was improper because it put the beliefs of the prosecutors into

       the argument. The trial court overruled Appellant's objection and made no further comment

       to the jury. (R-XXIII-92)

                                   ARGUMENT AND AUTHORITIES

               The purpose of closing argument is to facilitate the jury in properly analyzing the

       evidence presented at the trial so that it may arrive at a just and reasonable conclusion based

       on the evidence alone, and not on any fact not admitted in evidence. Stearn v. State, 487

       SW2d 734 (Tex. Crim. App. 1972)

               As noted in the preceding Point of Error, to receive the stamp of approval of this

       Court, jury arguments must be within the four areas set forth in Cannady v. State, 11

       SW3d 205 (Tex. Crim. App. 2000); Campbell v. State, 610 SW2d 754 (Tex. Crim. App.

       1980)

               It is not proper for the personal beliefs of the prosecutor (individually or collectively)

       to be presented to the jury as part of its consideration of the case. A prosecutor may not

       inject personal opinion of guilt into the jury argument. Williams v. State, 1989 WL 97549

       (Tex. App. [14th Dist.] 1989) not designated for publication. The State's argument went

       outside the record and invited the jury to consider and weigh the prosecutor's unique

       knowledge and evaluation of the evidence in rendering its verdict. Appellant submits that

       the trial court erred when it failed to sustain Appellant's objection. Garrison v. State, 528



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       SW2d 837 (Tex. Crim. App. 1975)

             Unlike Cannady, where the trial court gave an instruction to disregard, in the instant

       appeal the jury was allowed unfettered consideration of the State's argument. Cannady v.

       State, 11 SW3d 205 (Tex. Crim. App. 2000) In the absence of an instruction to disregard

       the improper argument, the error asserted under this Point of Error was not cured. Ramson

      v. State, 920 SW2d 288 (Tex. Crim. App. 1996)

                                POINT OF ERROR NUMBER TEN

       THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT'S
       OBJECTION TO THE PROSECUTOR'S IMPROPER ARGUMENT WHICH WAS
       OUTSIDE THE RECORD AND INJECTED HER PERSONAL BELIEF THAT IF
       ITHADBEENUPTOTHECO-DEFENDANT,ANGELOGARCIA WOULD STILL
       BE ALIVE (R-XXVI-163-165)

                                     STATEMENT OF FACTS

             During her punishment summation, the prosecutor argued:

              "Because I will tell you right now, if it were up to Roger alone, Angelo would still

       be alive." (R-XXVI-163,164) Appellant objected that the comments were outside the

       record and there was no evidence to support it. (R-XXVI-164) The trial court overruled

       Appellant's objection. (RE-XXVl-164,165)

                                ARGUMENT AND AUTHORITIES

              As noted in Point of Error Number Eight above, there are four recognized and

       permissible areas of final argument. Error is found when facts not supported by the record

       are injected in the argument. Reversal will follow ifthe complained-of argument is extreme

       or manifestly improper. Brown v. State, 270 SW3d 564 (Tex. Crim. App. 2008) When



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       the prosecutor made the factual statement set forth above, she injected evidence outside the

       record into the jury deliberation process. In Stearn v. State, 487 SW2d 734 (Tex. Crim.

       App. 1972) this Court reversed a conviction when the prosecutor stated in his argument to

       the jury that "we couldn't bring you all the circumstances surrounding the arrest". In that

       case, the Court concluded that the jury would logically surmise from the complained of

       argument that there was inadmissible evidence which, if revealed, would show them other

       acts committed by the appellant during the arrest that they should know about. Similarly,

       in the instant case, the prosecutor left the distinct impression that she knew "Roger" never

       intended to cause the death of Angelo Garcia, Jr. This constituted an improper argument

       that went outside the record. This punishment phase argument was extreme and manifestly

       improper requiring reversal.

                              POINT OF ERROR NUMBER ELEVEN

       THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT'S MOTION
       FOR MISTRIAL BASED UPON THE IMPROPER JURY ARGUMENT OF THE
       PROSECUTOR WHEN SHE WENT OUTSIDE THE RECORD (R-XXVI-171,172)

                                      STATEMENT OF FACTS

              Continuing with her punishment summation to the jury, the prosecutor said:

              "What else? They want to minimize the escape attempt. Justin talked to you about

       that. What do you think happened after he attempted to escape? You think he might have

       wound up in administrative segregation. I bet he did." (R-XXVI-171)

              Appellant objected this argument was outside the record. (R-XXVI-171,172) When

       the prosecutor responded that it was invited argument, the trial court sustained Appellant's



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       objection and admonished the prosecutor to stay within the record. (R-XXVI-172)

      Appellant asked for an instruction to the jury to disregard the prosecutor's comment. The

       trial court granted the instruction, but denied Appellant's Motion for Mistrial. (R-XXVI-

       172)

                                 ARGUMENT AND AUTHORITIES

              Appellant incorporates the Argument and Authorities set forth in the preceding Point

       of Error in support of this Point of Error again complaining of the State's improper jury

       argument. The sarcasm inherent in the prosecutor's comment constituted an argument

       outside the record. While the trial court recognized this fact and admonished the prosecutor,

       it did not go far enough in providing relief to Appellant. A prosecutor may not use final

       argument to invite the jury to speculate about matters that are outside of or unsupported by

       the record. See: Borjan v. State, 787 SW2d 53 (Tex. Crim. App. 1990)

                              POINT OF ERROR NUMBER TWELVE

       THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT'S MOTION FOR
       NEW TRIAL BASED UPON JURY MISCONDUCT DURING THE PUNISHMENT
       DELIBERATIONS WHERE THE JURY FOREMAN INFLUENCED THE
       DELIBERATION BY QUOTING FROM HIS BIBLE ABOUT THE CORRECTNESS
       OF THE DEATH PENALTY THUS CONSTITUTING AN IMPERMISSIBLE
       OUTSIDE INFLUENCE (CR-111-522,538)

                                      STATEMENT OF FACTS

              The jury charge at the punishment phase of the trial included the following

       instructions:

              "During your deliberations upon the "Special Issues", you must not consider,

       discuss, nor relate any matters not in evidence before you. You should not consider nor


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       mention any personal knowledge or information you may have about any fact or person

       connected with this case which is not shown by the evidence." (CR-III-522)

              "In arriving at the answers to the "Special Issues" submitted, it will not be proper

      for you to f1X the same by lot, chance, or any other method than by a full, fair and free

       exchange of the opinion of each individual juror." (CR-III-522)

              "You are the exclusive judges ofthe facts proved and the credibility ofthe witnesses

       and the weight to be given to their testimony, but you are bound to receive the law from the

       Court which has been given to you and you are bound thereby." (CR-III-522)

              After the jury began its deliberations at the punishment phase of the trial, the court

       received a note indicating that one of the jurors needed to speak with the judge. (CR-III-

       512) The note stated: "May I please speak to judge". The Note was signed by Angela

       Bowman and the Foreman of the Jury. The Clerk's file stamp reflects the date of July 19,

       2013 at 3:20 p.m. (CR-III-512) In response to the note, the trial court summoned the parties

       to the bench and announced that she would visit with Ms. Bowman in her chambers to find

       out what Bowman wanted to discuss. (R-XXVII-4) The court interviewed Ms. Bowman

       outside the presence of the other jurors. Bowman expressed her concerns to the court by

       relating that she was the only juror who could not agree with th questions - that she couldn't

       answer the same questions with everyone else and that she felt pressured. Bowman stated

       that she didn't want to hold the jury up and asked whether she could be replaced by one of

       the alternates. (R-XXVII-5) The trial court acknowledged that Bowman's answers were

       different from the rest of the jury, but indicated to her that her situation didn't qualify for

       replacing her with an alternate. (R-XXVII-5) When the court told Bowman she would not

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       be replaced and would have to continue deliberating with the others, Bowman said she

       didn't think she would ever come to an agreement - we're never coming to an agreement.

       (R-XXVII-6) Bowman told the court that she was not in agreement with the other jurors

       concerning Special Issues 1 & 3. Bowman confirmed that she was the only one with the

       different opinion. She told the court that she was not changing her stance and neither were

       the remaining jurors. (R-XXVII-6) The court again told Bowman that she would have to

       continue deliberating and it could take a pretty long period of time. (R-XXVII-6) Bowman

       was told that if no verdict was reached that day, she and the other jurors would be staying

       again that night and the next. (R-XXVII-6) At that juncture, the court made comments to

       Bowman that the jury is not being asked to vote to give the death penalty or not give the

       death penalty. When Bowman was told to continue her deliberations, she said didn't want

       to have to stay another night. The court again told Bowman she had to continue deliberating.

       (R-XXVII-8)

              The Clerk's record reflects that the jury returned its punishment verdict on July 19,

       2013 at 4:30 p.m. a little more than one hour after the court received the note from the juror.

       (CR-III-663) The jury's answers to the Special Issues resulted in the trial court sentencing

       Appellant to DEATH. Formal sentencing took place on July 22, 2013. (R-XXVIII-4)

              On the evening of July 19, 2013 (the same day that the jury returned its punishment

       verdict) Mario Madrid, one ofAppellant's trial attorneys, received a phone call from Angela

       Bowman - the juror who had expressed her concerns to the trial court judge earlier that day.

       In an Affidavit provided by Mr. Madrid, he related how Ms. Bowman told him that she was

       distraught over her decision to capitulate during the punishment phase deliberations by

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       changing her vote from life in prison to the death penalty. Bowman stated that she had been

       pressured to change her position on the life vs. death decision. She said her decision was

       especially complicated by virtue of the fact that her daughter was suffering from a fever and

       she (Bowman) was unable to attend to her because of being sequestered. Bowman went on

       to complain that the jury Foreman improperly influenced the jury by quoting from his Bible

       during the decision-making process. Bowman believed the Foreman's introduction of the

       Bible into the process ended up swaying other jurors toward death rather than life in prison.

       ( CR-III-541,54 2) Mr. Madrid also provided his professional opinion that a new trial or new

       trial on punishment was mandated because the death verdict returned in this matter was

       decided in a manner other than the fair expression of the juror's opinion. Madrid further

       noted, that in his opinion, the jury had received other evidence in the form of Biblical

       passages (not evidence admitted at trial) and that this constituted jury misconduct requiring

       relief. (CR-III-541,542)

              On August 19, 2013, Appellant filed a Motion for New Trial. (CR-III-538) The

       Motion for New Trial included the Affidavits of Mario Madrid [referenced above] and

       private investigator, J.J. Gradoni who interviewed Angela Bowman as well as jury Foreman,

       Matthew Clinger. Gradoni' s Affidavit noted that when speaking with the Foreman, Clinger

       readily admitted that he had read Romans 13, Genesis 9 and from Deuteronomy while other

       jurors were present. When Gradoni asked Clinger ifhe felt that his Bible verses changed

       a juror's vote, Clinger responded that he thought the Bible verses were contributing factors.

       (CR-III-5 54) Angela Bowman's Affidavit included in the Motion for New Trial, reaffirmed

       that her punishment vote was not her true and honest verdict. (CR-III-555) Bowman stated

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       that Clinger's use of his Bible did influence other jurors. She explained how exasperated

       she became over her inability to know the current status of her daughter's health- concerned

       that she might have had pneumonia. Bowman noted that as soon as she left court, she took

       her daughter to the emergency room. Ultimately, Bowman said she was unduly pressured

       by other members of the jury to change her vote because she was taking too long and

       holding up the process and wasting their time. Bowman stated that her verdict was not a

       true and honest expression of her belief in the evidence supporting the special issues that

       called for the death penalty. She believed that jury misconduct deprived Appellant of a fair

       and impartial trial.

              After the Motion for New Trial was filed, Appellant requested a live hearing to

       present live testimony in support of his Motion for New Trial. (CR-III-580)(R-XXIX-3)

       The trial court denied Appellant's request for a live hearing. (CR-IIl-584)(R-XXIX-3-4)

       The State of Texas opposed Appellant's Motion for New Trial. (CR-III-585) In compliance

       with the trial court's prior ruling, Appellant filed Affidavits in support of his Motion for

       New Trial and Supplement to his Motion for New Trial. (CR-III-602) The affidavits

       submitted by Appellant included: 1). A certified copy of Mario Madrid's Affidavit; 2). A

       certified copy of the first affidavit from J.J. Gradoni; 3). A certified copy of Angela

       Bowman's affidavit; and 4) A second affidavit from J.J. Gradoni with a transcript of his

       interview ofjury Foreman, Matthew Clinger, accompanied by the compact disc [CD] ofthat

       interview. (CR-III-603)

              The trial court conducted a hearing (restricted to affidavits) on Appellant's Motion

       for New Trial and Supplement to the Motion for New Trial. (R-XXIX-3-33)

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              During the hearing, the court admitted the State's affidavits in opposition to

      Appellant's request for a new trial. (R-XXIX-16,28) (R-XXXV) (SX#l & 2) When

      Appellant sought to introduce affidavits in support of his Motion for New Trial, the trial

      court admitted the affidavits of Mario Madrid (Def#l); J.J. Gradoni (Def# 2) and Angela

      Bowman (Def# 3) (R-XXIX-26) The second affidavit of J.J. Gradoni (Def# 4) which

       included the authenticated transcript of Gradoni's entire taped interview of jury foreman,

      Matthew Clinger, was not admitted. (R-XXIX-26) This exhibit (Def# 4) is before this

       Court on the Bill of Exception made in the trial court below.(R-XXIX-26-32) Appellant

      urges this Court to review and compare the sworn affidavit of Matthew Clinger prepared on·

      behalf of the State (R-XXXV/SX#2) with the content of his recorded statement give to

       investigator, J.J. Gradoni. (R-XXXV/Def # 4) Clinger's written affidavit asserting he did

       not read his Bible out loud and the Bible did not influence other jurors, appears to be

       contradicted by his own words beginning on page 22 of the transcript of that interview:

              MC:    Yeah, but I had my Bible there too. I had it in my overnight bag.
              JJ:    So did you read the Bible or did you quote it from memory?
              MC:    No, I read it.
              JJ:    Read it from the Bible?
              MC:    Yeah
              JJ:    Did it offend anybody?
              MC:    Uh, no one said that, no.
              MC:    And as 1..1 kind of qualified it by saying, you know, I'm not trying ... as I
                     said, Im not trying to be offensive. I just think, I think this will be helpful
                     to Casey [referring to Casey Guillotte] and so, I just want to share it.
              JJ:    So, after you read that was Casey able to say death?
              MC:    Uh, after I read that she was able to move, that was, we were finishing up
                     talking about the first question and she was able to move on from the first
                     question. Uh, we still talked about a lot more stuff throughout the course of
                     the day, but she was able to move on...
              JJ:    No, no, that helped her to move on to question number two?


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                MC:    Correct. (Page 22)

                CK:    And the people were listening, I guess, when you were saying this, and did
                       it help them to understand? You think it madea difference to them?
                MC:    It made a difference to Casey. I don't know if it made a difference with
                       anyone else.
                CK:    Did it make a difference to you?
                MC:    Uh, it felt good to be able to kind of share what I had, you know, what I
                       had researched and spent time processing. I, I had already, that was a path
                       I'd been down a number of times already (Page 23)

                JJ:    So, but in your opinion, Cas, it is Casey?
                MC:     Casey.
                JJ:    Casey was able to come to peace with the first question after the
                       scriptures?
                MC:    Not just that, I mean, there were probably nine of the twelve that shared
                       something during that time. And she, it was not just the scriptures. (Page
                       27)

                As J.J. Gradoni is finishing his conversation with Matthew Clinger, the following
                        concern is expressed by Clinger:

                MC:    Alright, thank ya'll. Pleasure to meet you. Just curious if, I mean was the,
                       you asked me about the scripture thing (unintelligible) Was that a problem
                       at all of just kind of a ... ? (Page 33)

                The trial court denied Appellant's Motion for New Trial. (CR-III-665)(R-XXIX-
       31-33)

                                   ARGUMENT AND AUTHORITIES

                Rule 21.3 of the Texas Rules of Evidence provides that a defendant must be granted

       a new trial, or a new trial on punishment, for any of the following reasons:

                Rule 21.3(c)- when the verdict has been decided by lot or in any manner other than

       the fair expression of the juror's opinion;

                Rule 21.3(f) - when, after retiring to deliberate, the jury has received other evidence;

       when a juror has talked with anyone about the case.


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              Rule 21.3(h) - when the verdict is contrary to the law and evidence.

              Rule 21. 7 of the Texas Rules of Appellate Procedure states that the court may

      receive evidence by affidavit or otherwise.

              Rule 606(b) of the Texas Rules of Evidence provides that upon inquiry into the

      validity of a verdict. .... a juror may not testify as to any matter or statement occurrinbg during

      the jury's deliberation ........ However, a juror may testify: (1) whether an outside influence

      was improperly brought to bear upon any juror.

                     FAILURE TO PROVIDE A LIVE WITNESS HEARING

              This court has held that it would not apply a per se rule that a trial court must hear

      live testimony whenever there is a factual dispute in affidavits and a party asks for

      testimony. Holden v. State, 201 SW3d 761 (Tex. Crim. App. 2006) However, this court

      has also held that a trial court abuses its discretion in failing to hold a hearing when a

       defendant presents a motion for new trial raising matters not determinable from the record.

      Reyes v. State, 849 SW2d 812 (Tex. Crim. App. 1993 ) In the instant appeal, a juror came

       forward during guilt I innocence deliberations to notify the court ofproblems inside the jury

      room.    In response, the trial court focused on the need for the jury to continue its

       deliberations - sending Ms. Bowman back into the jury room. Appellant submits that this

       "early warning signal" should have prompted the trial court to hold a live hearing on

       Appellant's Motion for New Trial to determine the cause of the problems Ms. Bowman tried

       to express to the court. The trial court abused its discretion in failing to provide a full and

       complete "live" hearing to Appellant so that all the issues raised in the Motion for New Trial



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       could be addressed through the testimony of live witnesses subject to contemporaneous

       cross examination. Reyes v. State, 849 SW2d 812 (Tex. Crim. App. 1993)

              On numerous occasions, Appellant requested a live hearing to decide the merits of

       his Motion for New Trial. The trial court denied Appellant's requests, instead Ordering that

       Appellant and the State of Texas prepare affidavits to be submitted to the court for its

       consideration of the Motion for New Trial. (R-XXIX-4,6) Appellant's investigator, J.J.

       Gradoni. Conducted post-trial interviews with the jurors. Ms. Bowman, who came forward

       to speak with the trial judge during guilt/innocence deliberations, provided an affidavit.

       Jury Foreman, Matthew Clinger had a lengthy recorded conversation with Mr. Gradoni.

       During the interview, Clinger was asked whether he felt that his Bible verses changed a

      juror's vote. Clinger responded that he thought the Bible verses were contributing factors.

       (CR-111-554) When Mr. Gradoni subsequently contacted Mr. Clinger to obtain a sworn

       affidavit from him in accordance with his interview, Clinger told Gradoni that his corporate

       counsel advised him against signing an affidavit, but to appear live in front of the court. (R-

       XXIX-8)

              Appellant objected to the court's failure to provide Appellant with a live hearing on

       his Motion for New Trial at which witnesses would testify under oath as violating his Sixth

       Amendment right to confrontation. (R-XXIX-9) Appellant also objected that he was denied

       Due Process when the jury ignored the trial court's instructions set out above. (R-XXIX-9)

       The trial court erred and abused its discretion in failing to provide a full and complete

       hearing on Appellant's Motion for New Trial. McQuarrie v. State, 380 SW3d 145 (Tex.



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       Crim. App. 2012) Appellant submits that in the interest of justice, this Court should abate

      the appeal and order the trial court to conduct a supplemental hearing at which sworn

      testimony from in-person witnesses would be received and made part of this record.

           OUTSIDE INFLUENCE IMPROPERLY BROUGHT TO BEAR ON JURY

             A review of the documentation in support of Appellant's Motion for New Trial

      supports a finding that an outside influence was introduced before the jury when the

       foreman shared Bible scripture with the jury during punishment deliberations.

              In Oliver v. Quarterman, 541 F3d 329 (C.A. 5th Cir.) The court noted that the

       Sixth Amendment forbids a jury from being exposed to external influences during its

       deliberations. In Oliver, the court held that the jury's consultation of Bible passages was

       external influence on the jury's deliberation. In the instant appeal, the trial court was
                                                                                                       I.
                                                                                                       i
      presented with more than adequate evidence to establish that an outside influence [Bible         I




       scripture] during the jury's deliberation. (R-XXIX-3-33)(R-XXXV) In Colyer v. State,

       428 SW3d 117 (Tex. Crim. App. 2014) this Court defined the permissible areas of inquiry

       pursuant to Rule 606(b) of the Texas Rules of Evidence. The Court reaffirmed that juror

       testimony regarding an outside influence was a proper area for post-trial consideration by

       the court. Appellant sought to further develop his complaint at a Motion for New Trial, but

       was prevented from doing so when the trial court both limited the hearing to affidavits and

       refused to admit the affidavit of J.J. Gradoni along with the un-edited tape recording of his

       interview ofjury foreman, Matthew Clinger. (See original CD presented on Appellant's Bill

       ofException)(R-XXXV) The evidence developed against a defendant shall come from the



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       witness stand in a public courtroom where there is full judicial protection of the defendant's

       right of confrontation and cross examination. The requirement that a jury's verdict must be

       based upon the evidence developed at the trial goes to the integrity of all that is embraced

       in the constitutional concept of trial by jury. Oliver, citing: Parker v. Gladden, 385 US

       363 (1966) and Turner v. Louisiana, 379 US 466 (1965) The Supreme Court has held that

       in a criminal case, any private communication, contact, or tampering directly or indirectly,

       with a juror during a trial about a matter pending before the jury is, for obvious reasons,

       deemed presumptively prejudicial. Remmer v. US, 347 US 227 (1954) A juror is exposed

       to an external influence when the juror reads information not admitted into evidence, such

       as ....prejudicial statements from others. This issue has even been addressed in a sister state

       when the Supreme Court of Tennessee found a constitutional error when the jury foreman

       buttressed his argument for imposition of the death penalty by reading to the jury selected

       Bible passages. See: State v. Harrington, 627 SE2d 345 (Tenn. 1981)

                                        PRAYER FOR RELIEF

              Appellant prays this Court will review each Point of Error raised herein and grant

       him relief as follows: Appellant prays the Court set aside the jury's verdict on the charge of

       capital murder and enter a judgment of acquittal . In the alternative, without waiving the

       foregoing prayer for relief, Appellant prays the Court enter an Order remanding this case

       to the trial court for a new trial. Further in the alternative, without waiving any of the

       foregoing prayers for relief, Appellant prays the Court enter an Order remanding this case

       to the trial court for a new trial on the issue of punishment. Without waiving the foregoing,



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       Appellant prays this Court remand this case to the trial court for a new hearing on

       Appellant's Motion for New Trial with instructions to receive live testimony.

                                                        Respectfully submitted,



                                                        w~
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                                CERTIFICATE OF COMPLIANCE

             This Briefis in compliance with Rule 9.4(2)(a) & (3) of the Texas Rules of Appellate
       Procedure. The total word count shown in the com               ogram used to repare
                                                                                       ...   this
       document is 35,103 ..




                                   CERTIFICATE OF SERVICE

              On this 12rn day of September, a true and correct copy of this Brief was mailed to
       the Harris County District Attorney's Office - Appellat   · on, 1201 Frank · , 6t
       Houston, Texas 77027.




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